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 UNITED STATES DISTRICT COURT
 FOR THE EASTERN DISTRICT OF TEXAS
 SHERMAN DIVISION



    NELSON WILLIS,
                           Plaintiff,

                                                                          FIRST AMENDED
                          v.                                          VERIFIED COMPLAINT

 ADAM M.ARON; AMC BOARD OF DIRECTORS;                               Case No.: 4:23-CV-732-ALM-KPJ
 AMC ENTERTAINMENT HOLDINGS INC.;,


                                                                      JURY TRIAL DEMANDED




                           Defendants




           Plaintiff Nelson Willis ( Plaintiff Willis ), pro se, in his capacity as AMC
    Entertainment Holdings, Inc ( AMC ) stockholder, and hereby submit this Plaintiffs First
    Amended Verified Complaint (“VC ), against Adam M. Aron, Citigroup Global Markets Inc.,

    Derek Van Zandt, D.F. King & Co., Inc., Krystal Scrudato, Geoffrey Weinberg, B. Riley

    Financial, Inc., Jon Merriman, Antara, Antara Master Fund, Himanshu Gulati, the New York

    Stock Exchange (“NYSE ), Kevin Connor, Edwin Gladbach, Michael Stein, John Neuwirth,

    Strategic Claims Services, Paul Mulholland, and Josephine Bravata (collectively,

     Defendants”). Plaintiffs allegations are based upon his knowledge and as to all other matters

    upon information and belief, a review of public information, news reports, a review of U.S.

    Securities and Exchange Commission (“SEC ) filings by AMC, and a review of the discoveiy

    documents and exhibits produced during the two class action lawsuits filed against AMC and
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     AMC s Board in Delaware Chancery Court on February 20th, 2023, consolidated action No.

     2023-0215-MTZ, and alleges as follows:




                                   PRELIMINARY STATEMENT

  1. Between October 12th and October 29th of 1929, the Dow Jones Industrial Average ( Dow )
     crashed over 40 percent.


 2. On October 28th, 1929, commonly referred to as Black Monday, the Dow experienced a
     significant decline of nearly 13 percent, initiating a severe financial downtu in the United
     States.


 3. This event marked not just a sudden crash but the end of a period characterized by excessive
     speculation and inadequate regulatory oversight. This eventually led to a staggering 90%
     decline in the Dow s value, contributing to what is now commonly known as the Great
     Depression .


 4. Following the collapse of the stock market, between October 1929 and July 1932, public trust
     in the U.S. financial markets evaporated. In response, Congress conducted hearings to identify
     underlying issues and sought remedies. Following a series of hearings, the severity of the
     abuses contributing to the crash of 1929 came to light. Based on its investigations, Congress
     enacted the Securities Act of 1933 during the peak of the “Great Depression . Subsequently,
     in the following year, it passed the Securities Exchange Act of 1934, which gave rise to the
     formation of the SEC.


                                         Securities Act of 1933

 5. The Securities Act of 1933 marked Congress initial attempt to combat fraudulent activities
     related to securities and to rebuild trust in public markets. It primarily targeted entities issuing
     and selling securities, typically companies seeking funds for new projects, investments, or
     expansions. Such issuers are incentivized to portray their company in an appealing manner to
     attract potential investors. This act aims to ensure that issuers disclosing securities to the public
     provide accurate, balanced and essential non-fraudulent information. Its goal is twofold: to
     prevent fraudulent information or practices influencing securities transactions and to offer
     investors the necessary information for informed investment decisions. To enforce the efficacy
     of these disclosure requirements, Congress established an extensive liability for fraud under
     the Securities Act and applying issuers of securities.
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                                   Securities Exchange Act of 1934

 6. The Securities Exchange Act of 1934, also known as the 1934 Act or Exchange Act ,
     predominantly governs secondary market security transactions. As such, it oversees
     transactions occurring between parties that aren t the original issuer, including retail investor
     trades executed through brokerage companies.


 7. These legislations fundamentally aim at two core principles:


            • Companies offering securities for sale to the public must tell the truth
               about their business, the securities they are selling, and the risks involved
               in investing in those securities.
            • Those who sell and trade securities - brokers, dealers, and exchanges -
                  must treat investors fairly and honestly.

 8. Under Section 4 of the Exchange Act of 1934, the formation of the SEC was initiated. This
     “independent federal agency is responsible for enforcing securities laws and maintaining
     market integrity. Empowered by the Exchange Act, the SEC has the authority to regulate the
     entire securities industry. This includes the ability to promulgate rules in accordance with
     federal securities acts and enforce both federal law and its own regulations. Specifically, the
     SEC has the power and authority to register, regulate, and discipline broker-dealers, oversee
     securities exchanges, and scrutinize the actions of self-regulatory organizations (SROs)
     associated with securities exchanges.


  9. The SEC is headed by a five-member Commission. The Commissioners are appointed by the
     President and confirmed by the Senate. The President designates one of the Commissioners as
     the Chair.


  10. According to the official SEC website, the Commission is entrusted with a threefold mission:


                               • Protect investors
                               • Maintain fair, orderly, and efficient markets
                               • Facilitate capital formation

                            The Demise of the SEC and Regulation SHO1


  11. The SEC, historically praised for unbiased regulation, faced criticism in 2008 for neglecting
     wa ing signs before the financial crisis and inadequately addressing fraud, such as Bernard
     Madoffs over $50 billion Ponzi scheme, resulting in significant investor losses.


  1 Source: Article WHY THE SEC FAILED: REGULATORS AGAINST REGULATION by Norman S.
  Poser. Link https://brooklynworks.brooklaw.edu/cgi/viewcontent.cgi?article=l 142&context=bicfcl
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  12. Ironically, parallels exist between the economic landscapes during the SEC's inception in 1934
     and the challenges it faced in 2009. In both periods, the nation grappled with heavy economic
     downfall, as the Great Depression casted a shadow in the 1930s and the 2008 financial crisis
     led to a worldwide banking crisis costing billions in losses for investors worldwide.


  13. The SEC's decline is attributed to multiple factors, encompassing budget constraints and a
     regulatory system lagging behind financial market developments. Notably, an anti-regulatory
     sentiment within some SEC members in recent years played a significant role, with a lack of
     belief in regulation contributing to its downfall.


  14. The SEC's failure includes not efficiently creating new regulations in response to misconduct
     and neglecting to address known loopholes. Minimal fines for institutional investors involved
     in fraud, lack of transparent disclosure, and failure to demand reimbursement contribute to a
     pattern where fines don't match the crimes, allowing bad actors to view them as a cost of doing
     business. The "revolving door" issue, where former SEC employees move to lucrative Wall
     Street positions, creates a conflict of interest and a twisted incentive system, potentially
     influencing leniency toward bad actors on Wall Street.


  15. One of the most controversial rules of the SEC is Regulation SHO and it was adopted to
     update short sale regulation in light of numerous market developments since short sale
     regulation was first adopted in 1938 and to address conce s regarding persistent failures-to-
     deliver and potentially abusive naked short selling. Compliance with Regulation SHO
     began on January 3, 2005.2


  16. Morality or business ethics rarely enters the decision-making process. On July 15th, 2008, the
     SEC issued an emergency rule to limit certain types of short selling, specifically the "naked"
     short selling of 19 major financial firms. Subsequently, on September 17th, 2008, this rule was
     extended to cover all publicly traded financial firms. On September 18th, 2008, the SEC
     imposed an immediate ban on all types of short selling for the stocks of 797 public financial
     companies, lasting until October 8th, 2008. The SEC's Chairman, Christopher Cox, cited the
     ban as an effort to combat market manipulation threatening investors and capital markets. This
     short selling prohibition quickly extended to overseas markets, including the United Kingdom,
     Australia, Taiwan, and the Netherlands.


  17. A short sale is the sale of stock that the seller does not own but is obligated by the rules to
     buy back at a later date. This practice is commonly employed by investors who anticipate a
     decline in the stock's price or want to hedge against potential market volatility.



 2 Key Points About Regulation SHO. SEC.gov. Link: https://www.sec.gov/investor/pubs/regsho.htm
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  18. In a short sale, short sellers borrow stock from a brokerage (and pay interest while the shares
     are outstanding), sell those borrowed shares at a time they believe the company s market price
     is high, purchase shares back when they believe the stock price is low, and return those newly
     purchased shares to the brokerage. If their prediction is right, they make a profit. If their
     prediction is wrong and the stock price rises, they incur a loss.


  19. The buyer of the stock never knows if his buy order was the result from a short sale or a
     bortowed stock. It's true that many brokerage clients are often unaware that their stocks may
     be lent out for short sales, essentially betting against the shareholders' interest in a rising
     portfolio. This lack of knowledge about the use of their securities highlights the challenges
     associated with transparency in the stock lending process.


 20. According to basic economic theory the practice of short selling serves various purposes,
     including capitalizing on expected downward price movements, providing liquidity in
     response to unforeseen buyer demand, or mitigating the risk of a long position in the same
     security or a related one. While most short sales are legal and contribute to market dynamics,
      abusive short sale practices are strictly prohibited by the SEC.3


 21. One such illegal practice involves engaging in a series of transactions to create artificial trading
     activity or manipulate a security's price to influence others' buying or selling decisions.


 22. Naked short selling is an example of an abusive short sale practice. It occurs when the short
     seller does not borrow or arrange to borrow the securities in time for delivery within the
     standard settlement period, resulting in a failure to deliver . Therefore, the supply side of the
     stock was manipulated by the “naked short selling practice as new stock is created in the
     system without the knowledge, authorization, or allowance of the issuer and its stockholders.


 23. According to the official SEC position on naked short selling, the SEC remains that it is not
     necessarily a violation of federal securities laws or the SEC's rules. The practice of “naked
     short selling can contribute to market liquidity under specific circumstances. Market makers
     frequently resort to “naked short selling to meet customer demand and sustain an active
     market for a security, especially when there is a lack of other buyers or sellers.


 24. The practice of market makers engaging in "naked" short selling to create liquidity does present
     an inherent conflict of interest and systemic risk. When market makers sell stock into the
     market for liquidity, they become short, and to exit this position, they must acquire shares
     ideally at a lower price than their initial sale. The challenge arises when investors hold strong,
     and market makers face difficulty procuring shares for covering their short positions.



 3 Key Points About Regulation SHO. SEC.gov. Link: https://www.sec.gov/investoi7pubs/regsho.htm
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 25. A pertinent question arises in relation to the SEC s stated missions:


                Given today s technological capabilities, why doesn t the SEC,
                as the overseeing authority of Wall Street, employ a dynamic
                ledger accountin system, to track the number of shares in
                circulation relative to the outstanding float for the 6,000+
                publicly traded companies on both the NYSE and Nasdaq?


 26. With the SEC lacking the aforementioned accounting system, bad actors on Wall St. have
    abused Federal Securities Law with impunity. Implementing said accounting system, would
    not only allow for greater transparency but also put an end to any systemic risk to the US
    financial markets. This transparency would in tu allow the SEC to realize their mandate of
    protecting all investors, not just institutional investors.


 27. A transparent accounting system would also protect companies - including biotech companies
    working on cures to cancer - from abusive short selling by predatory hedge funds on Wall
    Street. Until the SEC eliminates the rampant, well-documented illegal naked short-selling of
    counterfeit shares, retail investors will continue to be unjustly fleeced and small cap companies
    will continue to be driven out of business via bust-out schemes (which will destroy jobs and
    the middle class that once filled those positions). If the SEC and justice system continues to
    allow rampant naked short selling and market manipulation in the stock market, the public will
    lose trust in the system and refuse to participate - which will negatively affect all investors in
    the long term.



                  AMC Trades Over 1.2 Billion Shares on January 27th, 2021


 28. On July 22nd, 2022 at 7 pm Central Standard Time ( CST ), AMC Chief Executive Officer
    Adam M. Aron ( Defendant Aron ) held a meet-and-greet event at AMC River East 21 in
    Chicago, Illinois for a special screening of the movie NOPE . Before the movie started, Aron
    addressed the AMC stockholders that were sitting in the crowd. Seven minutes into his
    monologue, Aron discussed the events of January 27th, 2021. He states in part:


            On the Wednesday January 27th of last year, our stock went from five dollars
           a share to twenty dollars a share in one day. And we traded, on the New York
           Stock Exchange... uh more shares than I know how to count .... uh at the
           time we had 100 million shares outstanding - total share count. And 50
           million of them were in the pocket of one large institutional holder who was
           not trading the stock. So we really only have 50 million shares that traded.
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            On that one day that day that our stock quadrupled, that one day, we traded 1
            billion 250 million shares in a day. We only have 50 million shares that traded
            at all, and they turned over like 25 times. That's like every 15 minutes the
            whole shareholder base of the company is a new shareholder base of the
            company. 4


  29. During Aron s July 22nd, 2022 monologue in Chicago, he fails to provide any evidence or
     substantiation for his claim that AMC s float turned over like 25 times as compared to an
     alternative possibility, such as the introduction of synthetic shares multiple times the float. The
     reason why Aron doesn't provide any evidence to support his claim is because he can't.


  30. In fact, Aron s monologue carries no credibility since on January 27th, 2021, AMC had over
     340 million shares outstanding, not the 100 million shares Aron misrepresented.


  31. Either way, many retail investors were not actively selling their shares that day, as brokerage
     firms restrict day trading for retail investors unless they have a margin account. Instead, a
     significant portion of retail investors subscribed to the meme stock phenomenon of
     "HODLing" (hold on for dear life), reflecting a collective commitment to holding onto their
     AMC shares rather than engaging in frequent trading.


  32. On the day in question, AMC traded 1.25 billion shares. Using Aron's representation (though
     incorrect, will serve as a mathematical example), given the float of 50 million shares and a
     trading volume of 1.25 billion shares, one can calculate how many times the float was
     effectively traded over. This is done by dividing the total trading volume by the float



                      Turnover Ratio = Total Trading Volume


                                                        FLOAT

 33. Mathematically, if the turnover ratio for AMC's stock on January 27th, 2021 was indeed 25, it
     would mean that the available float of 50 million shares was effectively traded over 25 times
     in that single trading session. This implies that, on average, every share available for public
     trading changed hands 25 times throughout the day, indicating an exceptionally high level of
     trading activity. However, it's important to note that such a high turnover ratio would be
     impossible for retail investors to achieve, as they typically operate under a T+2 settlement




 4 Aron in Chicago. YouTube Video of Aron s July 22nd, 2023 Meet an Greet in Chicago. Video posted
 on July 23rd, 2022. See the 7:36 mark in the video for this quote. Link:
 https://www.youtube.com/watch?v=BHQftbZUh5Y
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     period, meaning funds need to be settled back into their accounts within two days after the
     trade execution.


  34. The scenario of an exceptionally high trading volume, like January 27th, 2021, raises questions
     about market manipulation, and the absence of a dynamic, transparent ledger that regulators
     could use to track trading activity in real-time makes it challenging to detect abusive practices
     like naked short selling.


  35. It's statistically improbable for a single stock's float to trade even a few times over, much less
     25 times, in a single day within a free market system without the presence of synthetic shares,
     naked shorts, or abusive short-selling behavior. Even if Aron's initial analysis was flawed due
     to the higher outstanding shares, leading to a turnover rate of 3.5 times the float in a single day,
     it still remains highly improbable without the existence of widespread synthetic shares. Naked
     short selling artificially increases the supply of the stock, driving down its price. Coordination
     among short sellers to time large volumes of short sales can create downward pressure, leading
     to a snowball effect where the falling price triggers additional selling.


  36. Based on the evidence, something nefarious occurred on January 27th, 2021, given the unusual
     trading activity and its impact on the stock's price and market dynamics.


  37. On January 27th, 2021, AMC was halted 6 times.


     Halt Date     Halt Time Symbol Exchan e           Reason       Resume Date       Resume Time
     2021-01-27    09:41:30   AMC NYSE                  LULD          2021-01-27         09:47:26
     2021-01-27    09:50:17   AMC NYSE                  LULD          2021-01-27         09:55:22
     2021-01-27     09:57:10     AMC       NYSE          LULD         2021-01-27         10:02:15
     2021-01-27     10:03:23     AMC       NYSE          LULD         2021-01-27         10:08:25
     2021-01-27     11:47:38     AMC       NYSE          LULD         2021-01-27         11:52:44
    2021-01-27      12:00:00     AMC       NYSE          LULD         2021-01-27          12:05:04



  38. On January 28th, 2021, the following trading day, AMC opened at $11.98, gapping down $7.92
     from the previous close of $19.90, experiencing a volatile trading day with an intraday high of
     $16.50, and an intraday low of $6.51. The stock closed at $8.63, accompanied by a significant
     daily trading volume at 591,223,900 shares.


                         Date Open High               Low Close Volume
                     Jan. 28, 2021 11.98 16.50  6.51 8.63 591,223,900
                     Jan. 27, 2021 20.34 20.36 11.01 19.90 1,222,342,500
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  39. On January 28th, 2021, AMC was halted 13 times.


      Halt Date     Halt Time      Symbol Exchange        Reason Resume Date Resume Time
     2021 01-28         09:31:35       AMC     NYSE           LULD      2021-01-28      09:36:40
     2021 01 28         09:39:50       AMC     NYSE           LULD      2021-01-28      09:44:50
     2021 01 28         10:04:52       AMC     NYSE           LULD      2021-01-28      10:09:52
     2021 01 28         10:25:29       AMC     NYSE           LULD      2021-01-28       10:30:32
     2021 01 28         10:31:22       AMC     NYSE           LULD      2021-01-28       10:36:22
     2021 01 28         10:39:24       AMC     NYSE           LULD      2021-01-28       10:44:24
     2021 01 28         10:44:55       AMC     NYSE           LULD      2021-01-28       10:49:56
     2021 01 28         11:06:30       AMC     NYSE           LULD      2021-01-28       11:11:30
     2021 01 28         11:11:58       AMC     NYSE           LULD      2021-01-28      11:16:58
     2021 01 28         11:17:25       AMC     NYSE           LULD      2021-01-28      11:22:25
     2021 01 28         11:23:31       AMC     NYSE           LULD      2021-01-28      11:29:04
     2021 -01 28        11:32:44       AMC     NYSE           LULD      2021-01-28      11:37:55
     2021 -01 28        14:45:37       AMC     NYSE           LULD      2021-01-28      14:50:37



 40. On February 20th, 2023, at 4:09 pm Easte Standard Time ( EST ), Allegheny County
 Employees Retirement System (“ACER ) fded its class action complaint in the Chancery Court
 in the state of Delaware, asserting claims for breach of fiduciary duty and violation of 8 Del. C. §
 242(b)(2) (“Section 242 ), declaratory, injunctive and equitable relief against AMC, Aron, current
 and former Board members Howard Koch, Kathleen Pawlus, Anthony Saich, Philip Lader, Gary
 Locke and Adam Sussman.


 41. Also on February 20th, 2023, at 4:47 pm EST, retail investors Usbaldo Munoz (“Munoz ) and
     Anthony Franchi (“Franchi ) filed their class action complaint in the Chancery Court, asserting
     a claim for breach of fiduciary duty and seeking to enjoin the AMC Preferred Equity Units
     ( APE ) from voting at the Special Meeting against Aron, current and former Board members
     Denise Clark, Howard Koch, Philip Lader, Gary Locke, Kathleen Pawlus, Keri Putnam,
     Anthony Siach, Adam Sussman and Lee Wittlinger.


 42. The two class action complaints were oddly enough filed on the same day and just 38 minutes
    apart.


 43. On March 2nd, 2023, both actions were consolidated and assigned the following case number
    2023-0215-MTZ.


 44. Franchi, Munoz and ACER sought expedited treatment of their requests for injunctive relief,
    which was scheduled to be heard on February 23rd, 2023.
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  45. The two class action lawsuits arose because AMC s Board was using its fiduciary powers to
     circumvent the current AMC stockholders voting rights by giving APE investors effective
     control of any vote, to force through charter amendments to radically increase the number of
     shares of AMC Class A common stock available for issuance.


  46. As the consolidated class action lawsuit progressed through the Delaware Chancery Court,
     several AMC stockholders were actively involved as objectors to the proposed settlement.
     These AMC stockholders filed several motions, one for example to procure discovery
     documents to support their objections. In mid-May 2023, Judge Morgan Zurn ( Judge Zum )
     granted their discoveiy motions and issued an order releasing the discovery record.


  47. As a result of the discovery record being released to AMC stockholders, Plaintiff           now
     knows:


          • After AMC traded 1.25 billion shares on January 27th, 2021, later that
              evening, at 8:00 pm EST, the AMC Board convened a special meeting via
              Zoom. During this meeting, Aron proposed scheduling a special
              stockholders meeting to amend AMC's certificate of incorporation,
              authorizing an additional 500 million shares. The proposal is notable for its
              significant magnitude, especially in light of the outstanding float at that time,
              which was a little over 400 million shares, with 63 million shares still
              available for issuance. During the special meeting, no documentation was
              provided to demonstrate that any financial analysis was performed to explain
              the rationale behind the recommendation to authorize an additional 500
              million shares.
          • In November 2021, AMC and its investment banker, Derek Van Zandt
              ( Derek Van Zandt ) at Citigroup Global Markets Inc., memorialized a
              scheme known as Project Popco .
          • January 27th, 2021, is significant as it marks the genesis of Project Popco .
          • Comprehensive documentation exists detailing all the elements of the
              scheme Project Popcorn, which led to AMC s market capitalization
              declining from $23.7 billion in November 2021 to $780 million in February
              2024.
          • AMC insiders were aware of the impact on AMC’s stock price if they
              proceeded with Project Popco .
          • Citigroup was a market maker in AMC during 2021.
          • Citigroup and its affiliates held a "significant financial interest" in AMC
              during 2021.
          • When Derek Van Zandt drafted the Project Popcorn PowerPoint presentation
              in November 2021 for the AMC Board, AMC had over $1.6 billion in the
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                bank. Despite the substantial cash reserves at the time, no explanation was
                given for why AMC intended to offer new shares on the market and why
                they switched from a rights offering to an at-the-market ("ATM") offering.
            • The Weinberg May 17th, 2022 email reveals plans to convert APE back into
                AMC even before APE was distributed to stockholders.
            • Why Aron consistently refused to entertain offers from AMC stockholders
                seeking non-dilutive options to eradicate the debt.
            • Why Aron consistently refused to conduct a share count of AMC stock that
                were out in circulation, as opposed to outstanding.
            • AMC was not facing imminent bankruptcy, as there was no economic proof
                or going concern from AMC s accountant, Ernst and Young, and AMC s
                Board of Directors.


  48. The evidence shows that all actions taken by Aron, the AMC Board, and Citigroup Global
      Markets Inc. surrounding AMC were not done with the purpose of exposing the naked shorts
      on AMC and protecting shareholder value, but with the pur ose of concealing the real number
      of AMC shares in circulation in order to protect those shorting and naked shorting AMC stock.
      The scheme Project Popcorn aimed to transfer shares, and consequently ownership, from
      individual retail investors to institutional ones, many of whom were implicated in the "naked"
      short selling of AMC stock.


  49. Aron and the AMC Board have never disclosed their regulatory engagements that occurred
      with the SEC, FINRA, and the Self-Regulatory Organizations (SROs) after the January 27-28,
      2021 squeeze and subsequent stock movement dates. This introduces an additional layer of
      complexity to the problem as this lack of transparency led many shareholders to speculate
      whether the SEC mandated AMC s actions to safeguard hedge funds and market makers.


  50. Online shareholder discussions have raised questions about the credibility of the lead plaintiff,
      ACER, noting the coincidence of Aron's Pennsylvania origin. Speculation exists that ACER
      might have been a 'friendly plaintiff to the AMC Defendants, potentially orchestrated to
      facilitate AMC shareholders bearing the loss. The Plaintiffs never deposed CEO Aron. The
      discovery documents also provided by AMC conspicuously lacked the attachments referenced
      in the emails, and ACER did not request these attachments even after shareholders prompted
      them to do so, raising suspicions. Furthermore, the apparent absence of thorough investigation,
      scrutiny of evidence, and a notable lack of outrage by the Court and AMC over the limited
      notification to only a small group of shareholders (regarding the opportunity to object) are also
      conce ing. This hypothesis gains traction considering the premature settlement of the lawsuit
      for a minimal amount. Similar observations are noted in the Antara case in New York, who
      settled for $3 million dollars, when Antara made well over $1 billion in profits.5


  5 Where is the source for Antara making 1 billion in profits?
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  51. If market makers and hedge funds engaged in naked short selling and had to acquire AMC
     shares (ideally at a lowest price possible) during the time of the AMC run up between January
     2021, and June 2021, then further transparency and data are needed in order to answer the
     question of what really happened and how naked short were the market makers and hedge
     funds at that time? Simply put, can any CEO on Wall Street unequivocally state how many
     shares are out in circulation in their stock at any particular time? The answer is simple - No.



                                             PARTIES

  A. Plaintiffs

  52. Plaintiff ( Plaintiff ), at all times relevant to this action, was a resident of


  B. Defendants

  53. Defendant Aron has served as Chief Executive Officer, President, and a director of AMC since
     January 2016. Defendant Aron resides in Kansas and service can be effectuated at AMC s
     corporate office at 11500 Ash Street
     Leawood, KS 66211.


  54. Citigrou Global Markets Inc. is a subsidiary of Citigroup Inc. ("Citigroup"), a diversified
     financial services holding company, which provides various financial products and services
     for consumers, corporations, governments, and institutions. Citigroup operates through two
     segments, Global Consumer Banking (GCB) and Institutional Clients Group (ICG). The GCB
     segment offers traditional banking services to retail customers through retail banking,
     commercial banking, Citi-branded cards, and Citi retail services. The ICG segment provides
     wholesale banking products and services, including fixed income and equity sales and trading,
     foreign exchange, prime brokerage, derivative services, equity and fixed income research,
     corporate lending, investment banking and advisory services, private banking, cash
     management, tr de finance, and securities services to corporate, institutional, public sector,
     and high-net-worth clients. The company operates in North America, Latin America, Asia,
     Europe, the Middle East, and Africa. Citibank, was founded in 1812 and is based in New York.
     Citicorp and Travelers merged in 1998 to form Citigroup. Citigroup Global Markets Inc. is a
     subsidiary of the ICG segment and operates as a broker-dealer and provides a wide array of
     financial services to corporations, governments, institutions, and individuals worldwide. Its
     services include but are not limited to, securities brokerage, foreign exchange, wealth
     management, market making, investment banking, trading and principal investments, fixed
     income and equity sales and trading, and structured and derivative products. This unit of
     Citigroup is also involved in underwriting and distributing new issues of government and
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      corporate bonds, money market securities, and public and private equity securities. Citigroup
      has had over 576 Regulatory Events, and 639 arbitration events for unethical, illegal matters
      and practices dating back decades6. In order to give a more practical perspective of the
      violations permitted by Citigroup, as per publicly available information, Citigroup has incurred
      penalties totaling $26,945,611,792 across 181 distinct records since 2000. It is crucial to note
      that the majority of these violations pertain to financial offenses such as toxic securities
      abuse . When evaluating Citigroup's adherence to legal and ethical standards within the
      financial sector, the sheer magnitude of the violations committed over the last 23 years speaks
      for itself. This equates to an alarming frequency of a new violation occurring approximately
      every one and a half months throughout its operational history7. Citigroup is incor orated in
      Delaware. Citigroup Global Markets is incorporated in New York.


  55. Derek Van Zandt is a Managing Director (“MD ) at Equity Capital Markets, Citibanking,
      Capital Markets & Advisory Citigroup, and has been employed by Citigroup since January
      2000. At all times relevant, Derek Van Zandt was AMC s investment banker. He has been
      AMC s lead banker with Citi for over 7 years. Derek Van Zandt leads the Media Investment
      Banking team for the North American Region at Citigroup, one of the world's leading financial
      institutions. He is providing strategic and financial advice to clients in various media sub¬
      sectors, such as cable, DTC / OTT, entertainment, video games, broadcasting, prtblishing, and
      theaters. He has successfully advised or led many M&A and capital raising transactions,
      involving some of the most prominent and innovative media and communications companies,
      such as Disney, Comcast, AMC, Tegna, Cox, Cogeco, Tribune, CJ CGV, IMAX, NCMI,
      Charter, DISH, Gannett and Fubo TV. He has helped clients navigate complex and dynamic
      market conditions, such as digital transformation, consolidation, and secular disruption.8 The
      involvement of VanZandt in orchestrating "Project Popcorn" and the subsequent introduction
      to Antara Capital highlights the complexity and risk-laden nature of the scheme under scrutiny.)
      This initiative, characterized by its multifaceted approach to financial operations involving
      AMC shares, underscores the strategic and deliberate efforts to engage with financial entities
      capable of participating in or facilitating the intricate aspects of the alleged scheme.

      The allegation that VanZandt not only conceived but also actively sought out and eventually
      secured participation from Antara Capital suggests a high level of coordination and negotiation
     to align the interests and capabilities of all parties involved. The mention that the scheme was
     pitched to other actors indicates a broad attempt to establish a network of participants, each
     potentially contributing to the execution of Project Popcorn. This concerted effort to enlist
     Antara Capital, alongside other unnamed entities, into a scheme fraught with significant risk

  6 Citigroup Global Markets Summary. Broker Check By FINRA. Link:
  https://brokercheck.fmra.org/fmn/summarv/7059. Date Accessed: December 16th, 2023.
  7 https://violationtracker. oodiobsfirst.or /?parent=citigroup&page=l; Date Accessed: December 28th,
  2023
  8 Source: https://www.linkedin.com/in/derek-van-zandt-b5bb3a49/
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      points to an organized attempt to manipulate or exploit financial mechanisms for specific
      outcomes related to AMC shares. The active recruitment of financial partners to participate in
      a complex and risky scheme could raise questions about the potential for misleading conduct,
      misrepresentation of material facts, or the omission of critical information relevant to the
       articipants and the broadermarket.The characterization of Project Popcorn as requiring "time
      and effort" to bring Antara Capital on board, along with the efforts to engage other actors
      suggests a premeditated strate y rather than an incidental or spontaneous financial venture.
       his strategic planning and recruitment effort, especially if it involved undisclosed risks or
      misrepresented the nature of the investmenttoAntara Capital and other potential participants,
      could potentially be scrutinized under securities law for compliance with disclosure
      requirements and the prohibition against fraudulent activities.In light of these allegations, a
      thorough investigation into the nature of Project Popcorn, the roles and responsibilities of
      VanZandt, Antara Capital, and any other involved parties, and the communications and
      representations made to secure their participation would be crucial.
                Discuss he memorialized project popcorn - introduced Antara - aided and
  abetted rigging the vote, asked hy are we going back to the market and what narrative will
  we tell investors


  56. Cristian Gonzalez is a MD at Citigroup, Head of Private Structured Solutions (relevant!) at
      Citi Equity Capital Markets, and has been employed by Citigroup since January 2000.9
      According to public available information Mr. Gonzalez was promoted by Citi's investment
      bank to a Managing Director as of January 1st, 2021. "A promotion to Managing Director is
      a career-defining accomplishment," said Paco Ybarra, CEO of the Institutional Clients Group
      (ICG)in the accompanying memo.10 Mr. Gonzalez possessed substantial information as MD
      throughout all relevant periods regarding the financial engineering activities of AMC
      Entertainment Holdings, Inc., and the consequential impacts on shareholders. These internal
      documents are pivotal in establishing his intimate knowledge of the situation.


  57. D.F. King & Co., Inc. provides investor communication services. The Company offers mutual
      fund and corporate proxy solicitation, shareholder expense management programs, and
      financial communication services. D.F. King & Company conducts business worldwide.


  58. Krystal Scrudato is a senior vice president at D.F. King & Co. Inc.


  59. Geoffrey Weinberg was a senior managing director at D.F. King & Co. Inc.




  9 Source: https://www.linkedin.com/in/cristian-gonzalez-a9999115/
  10 Source: https.7/www.efmancialcareers.com/news/2020/12/citi-managing-directors-202Q
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  60. B. Riley Financial, Inc., through its subsidiaries, provides financial services to corporate,
     institutional, and high net worth clients in North America, Australia, and Europe. The company
     operates through six segments: Capital Markets, Wealth Management, Financial Consulting,
     Auction and Liquidation, Communications, and Consumer. B. Riley Financial is the financial
     advisor to AMC and employer of Jon Memman.


  61. Jon Merriman serves as Chief Business Officer for B. Riley Financial, the holding company
     for RILY's diverse operations, as well as Senior Managing Director, Investment Banking, with
     B. Riley Securities, the film's investment banicing ai . In these dual roles Merriman works
     closely with public nd private corporations across multiple industry roups, private equity
     investors, law firms and IR firms to leverage the firm's resources to create solutions and drive
     revenue to the film. On May 27th, 2022, Jon Merriman sent Sean Goodman, Chief Financial
     Officer at AMC and John Merriwether, Investor Relations at AMC, a number of prospectuses
     from issuers on Nasdaq, ticker symbols AVGR, AGRX and OPGN, that implemented super
     voting preferred shares to force through certificate amendments.


  62. Antara Capital ( Antara ) is an event-driven hedge fund founded in 2018 by Himanshu
     Gulati, a veteran of the financial industry with over 20 years of experience. The f m is
     headquartered in New York City and invests in event-driven opportunities across the capital
     structure, such as distressed debt, special situation equities, and catalyst credit. Antara Capital
     seeks to deliver equity-like retu s with credit-like downside protection. Antara Capital is
     incorporated in Delaware.


  63. Antara Master Fund is the direct beneficial owner of all of the AMC securities -i.e., all of
     the APE shares and the AMC stock and derivatives -that were purchased and sold in the
     transactions giving rise to Section 16(b) liability as further described herein.


  64. Himanshu Gulati is a natural person with offices or who can be found at 55 Hudson Yards,
     47th Floor/Suite C, New York, New York 10001 and is the sole member of Antara Fund GP
     and Antara GP.


  65. New York Stock Exchange ( NYSE ) is the world s largest stock exchange, offering icons
     and entrepreneurs the opportunity to raise capital and change the world. NYSE Regulation
     ( NYSER ) is responsible for monitoring activities on the NYSE’s equities, options, and bonds
     markets - i.e., the New York Stock Exchange LLC (equities and bonds), NYSE Area, Inc.
     (equities and options), NYSE American LLC (equities and options), NYSE National, Inc.
     (equities), and NYSE Chicago, Inc. (equities) (collectively, the NYSE Exchanges ) - and for
     addressing non-compliance with the NYSE Exchanges’ rules and federal securities laws.
     NYSER enforces both the NYSE Exchanges’ and their members' compliance with NYSE
     Exchange rules and applicable federal securities requirements. It also monitors and enforces
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      listed companies compliance with applicable listing standards of the NYSE Exchanges. By
     performing these duties, NYSER supports the NYSE Exchanges efforts to promote just and
      equitable principles of trade, encourage free and open markets, and protect investors and the
     public interest. Many of these regulatory functions are performed directly by NYSER; others
      are performed by FINRA or other self-re ulatory organizations pursuant to a regulatory
      services agreement, national market system plans, or other arrangements. The New York Stock
     Exchange (NYSE), founded in 1792, lists around 2,400 stocks, including AMC (Ticker: AMC)
     and previously listed AMC Preferred Equity Units (Ticker: APE). The NYSE is owned by
     Intercontinental Exchange (Ticker: ICE) which was founded in 2000. New York Stock
      Exchange (NYSE) is incorporated in Delaware.


  66. Kevin Connor has served as Senior Vice President, General Counsel and Secretary of AMC
      since June 2007


  67. Edwin Gladbach has served as Vice President and is one of three in house attorneys for AMC,
      and has worked for AMC since Febmary 2009. His extensive legal expertise encompasses
     Mergers & Acquisitions (M&A), Code of Conduct, Financing, Risk Analysis, Securities
     Regulation, Securities Regulatory Compliance, Corporate Governance, Corporate Finance,
     Business Transactions, Legal Compliance, and Legal Affairs. A document, executed on the
     4th day of November, 2013, appoints a Limited Power of Attorney vested by Keith P.
     Wiedenkeller in Edwin F. Gladbach and Kevin M. Connor, serving as the Assistant Secretary
     of AMC Entertainment Holdings, Inc., giving them the role and authority of the true and lawfill
     attorney-in-fact for AMC.11 The scope of this power extends to the preparation, signing, and
     filing of Forms ID, 3, 4, and 5, including any subsequent amendments, which may be
     necessitated by AMC Entertainment Holdings, Inc.



  68. Michael Stein is a partner in Weil's Capital Markets practice. Mr. Stein has experience
     working with Citi, Goldman Sachs, Morgan Stanley, J.P. Morgan, and Wells Fargo. Weil’s
     website lists Mr. Stein’s AMC experience as such: "AMC Entertainment Holdings, Inc. in
     several (i) at-the-market and private offerings raising over $1.5 billion in aggregate equity
     proceeds, (ii) first and second lien note issuances raising over $4.1 billion in aggregate
     proceeds and (iii) various other liability management transactions."12 Mr. Stein was also
     involved in discussions with the NYSE in advising AMC how to get APE listed on the NYSE.

  69. John Neuwirth of Weil, Gotshal & Manges is a member of AMC’s outside counsel and
     represented AMC as counsel during case 2023-0215-MTZ.




  11 Source: https://www.sec.gov/Archives/edgar/data/1411579/000114036113046626/poal.htm
  12 https://www.weil.com/people/michael-stein
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  70. Lead Counsel team list them


  71. Strategic Claims Services is a Pennsylvania company that has operations in Media,
     Pennsylvania. Strategic Claims Services provides support in managing, planning,
      implementing and administering class action litigations and was founded by Paul Mulholland
      in 1999. Since its inception, Strategic Claims Services has administered hundreds of cases
     involving notification, claims processing and distribution. Strategic Claims Services develops
     a custom solution for each and every client to ensure the highest quality service at a competitive
     price. Strategic Claims Services is devoted to offering paramount quality control throughout
     all dimensions of the claims administration process. Service on Defendant SCS can be
     effectuated at 600 North Jackson Street - Suite 205 Media, PA 19063.


  72. Paul Mulholland ( Mr. Mulholland ) is the founder and President of Strategic Claims
      Services. He is the key liaison with counsel on administrative cases. Mr. Mulholland has over
     thi ty years of experience in all areas of notice and claims administration. On June 7th, 2023,
     Mr. Mulholland executed an affidavit on behalf of Strategic Claims Services concerning
     mailing of postcard notice with respect to a class action lawsuit in the Delaware Chancery
     Court, case number 2023-0215-MTZ before Judge Zum. Service on Defendant Mulholland
     can be effectuated at 600 North Jackson Street - Suite 205 Media, PA 19063.


  73. Josephine Bravata (“Ms. Bravata ) is the Project & Quality Assurance Manager at Strategic
     Claims Services. Ms. Bravata is involved with all areas of claims administration. She
     supervises the claims processing, database management, notification, bank reconciliations,
     check distributions and preparation of reports. On June 22nd 2023, Ms. Bravata executed an
     affidavit on behalf of Strategic Claims Services concerning mailing of postcard notice with
     respect to a pending class action lawsuit in the Delaware Chancery Court, case number 2023-
     0215-MTZ before Judge Zum. Service on Defendant Bravata can be effectuated at 600 North
     Jackson Street - Suite 205 Media, PA 19063.


  74. Defendants Citigroup Global Markets Inc, Derek Van Zandt, Cristian Gonzalez, D.F. King &
     Co., Inc., Krystal Scmdato, Geoffrey Weinberg , B. Riley Financial, Jon Meniman, Antara,
     Himanshu Gulati, Kevin Connor, Edwin Gladbach, and Michael Stein will be collectively
     referred to as the Project Popcorn Defendants .


                                  JURISDICTION AND VENUE

  75. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 as a federal question
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  76. Venue is proper in this district pursuant to 28 U.S.C. § 1391 because operates, resides and
      has its principal place of business in this district, and a substantial part of the events or
      omissions giving rise to the claims occurred in this district.




                                      JURY TRIAL DEMANDED


  77. Plaintiff   demands a trial by jury on each and every one of his claims as pleaded herein.



                                      STATEMENT OF FACTS

  78. On December 15th, 2015, AMC announced that AMC s Board of Directors named Aron as

      Chief Executive Officer and President, as well as a member of the AMC Board of Directors,

      effective January 4th, 2016. Aron replaced Craig Ramsey, who served as Interim CEO since

      August 2015, following the resignation of Gerry Lopez on August 5th, 2015.



  79. From 2006-2015, Aron served as a Senior Operating Partner of Apollo Management L.P

      ( Apollo ). Apollo was previously part of an investor group that owned the then privately-

      held AMC.


  80. Prior to 2016, AMC had been performing well and even announced record-setting results

      during 2015. AMC primarily attributed these results to the success of two strategic growth

      initiatives reseating a large number of its theaters with reclining chairs, and introducing an

      expanded selection of food and beverage menu offerings in its theaters.



  81. As part of an expansion project, on March 3rd, 2016, AMC and Carmike Cinemas, Inc.

     (“Carmike ) announced that they had entered into a definitive merger agreement. Pursuant to

     the merger agreement, AMC agreed to acquire all of the outstanding shares of Carmike for

     $30.00 per share in cash, or approximately $757 million. In connection with the merger

     agreement, AMC agreed to enter into a debt financing commitment letter, which provided for

     loans to fund the acquisition.
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  82. Unlike AMC s theaters, which had been substantially upgraded over the years and were

     primarily located in wealthier metropolitan areas, Carmike primarily serviced smaller, more

     r ral communities. Notably, AMC had engaged in substantial pre-transaction due diligence

     regarding the Carmike acquisition, and on December 20th, 2016, during a conference call, Aron

     informed investors that AMC had plenty of time to look at ... Carmike and analyze

     Carmike s operations.


  83. After AMC announced its intention to acquire Carmike, AMC informed investors that it

     anticipated realizing $35 million in annual operating synergies from the acquisition. These

     synergies were expected to come from reduced film exhibition, concession, overhead, general

     and administrative expenses, and other costs. Additionally, AMC planned to reseat a limited

     number of Car ike movie screens with reclining chairs in markets where it was financially

     prudent. Specifically, AMC communicated its intention to reseat only 15% of Carmike s movie

     screens over a five-year period at an expected cost of $50 million to $60 million. For the

     remaining screens, AMC aimed to retain Carmike’s lower cost structure at theaters with lower

     visitation.


  84. The Carmike acquisition was completed on December 21st, 2016, for $858.2 million,

     comprising $584.3 million in cash and $273.9 million in common stock. In connection with

     the Carmike acquisition, AMC also assumed $230 million in debt.


  85. As of the acquisition date, Carmike operated 271 theaters and 2,923 screens located in 41 states

     across the United States. AMC’s SEC filings describe Carmike as one of the nation’s largest

     motion picture exhibitors and a U.S. leader in digital cinema, 3-D cinema deployments and

     alte ative programming.



  86. To obtain the necessary regulatory approval to acquire Cannike, AMC entered into a

     settlement agreement with the U.S. Department of Justice pursuant to which it agreed, among

     other things, to divest 17 AMC theaters in markets where AMC’s business overlapped that of

     Carmike.
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  87. In addition to the Carmike acquisition, on November 30th, 2016, AMC completed the

     acquisition of the outstanding equity of Odeon and UCI Cinemas Holdings Limited ( Odeon )
     for $637 million, comprising $480.3 million in cash and $156.7 million in common stock. In

     connection with the acquisition, AMC also paid Odeon s indebtedness totaling $593.2 million.


  88. As of the acquisition date, Odeon operated 242 theaters with 2,243 screens in four major

     markets: United Kingdom, Spain, Italy and Germany; and three smaller markets: Austria,

     Portugal and Ireland.


  89. On January 23ld, 2017, AMC announced it had agreed to acquire Stockholm-based Nordic

     Cinema Group Holding AB ( Nordic ), the largest theater exhibitor in seven countries in

     Scandinavia and the Nordic and Baltic regions, from a European private equity firm and a

     Swedish media group in an all-cash transaction valued at $929 million.



  90. These acquisitions were primarily financed with new debt, as AMC was inter alia committed

     to refinance Nordic s indebtedness at the closing of the Share Purchase and had fully

     committed debt financing in place ... to fund the proposed Acquisition according to their

     annual report for fiscal year of 2016. These purchases caused AMC s indebtedness to increase

     from $3,402 billion as of September 30th, 2016, to $6.6 billion by December 31st, 2016 (an
     increase of 94%).



  91. To deleverage the massive debt financing related to the Carmike acquisition and the European

     expansion, AMC undertook a secondary public offering ( SPO ). On December 21st, 2016,

     AMC filed with the SEC a Form S-3 registration statement, which incorporated a prospectus

     and prospectus supplements that were l ter filed with the SEC (collectively referred to herein

     as the “Registration Statement”). In the SPO, AMC offered to sell to the public 21,904,761

     common shares at a price of $31.50 per share. Ultimately, on February 8th, 2017, pursuant to

     the Registration Statement, AMC offered approximately 22 million shares of AMC common

     stock, raising approximately $618 million.


  92. AMC incurred various forms of debt to finance the above-noted acquisitions. In particular, in

     connection with the Carmike acquisition, AMC entered into a $350 million bridge loan
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     agreement with affiliates of Citigroup, Merrill Lynch, Barclays, Credit Suisse and HSBC

     Securities (USA) Inc., each of whom were underwriters in the SPO. Under the terms of the

     agreement with these lenders, more than $30 million of the proceeds received by AMC in the

     SPO was to be used to repay the above-noted bridge loan.



                               AMC s Financials Prior to Covid-19


  93. The following table reflects AMC s financial situation prior to COVID-19.


      AMC
      ENTER¬                                                    C sh and c sh Corporate
                     Net                  Total rs je M
      TAINMENT
      INC
      2022            $-973,600,000       $3, 11,400,000        $631,500,000       $5,1 0,800,000
      2021             -1,269,800,000     $2,527,900,000        $1,592,500,000     $5,428,000,000
      2020            $-4,589,400,000     $1,242,400,000        $308,300,000       $5,715,800,000
      2019            $-149,100,000       $5, 71,000,000        $265,000,000       $4,753,400,000
      2018            $110,100,000        $5,460,800,000        $313,300,000       $4,723,000,000
      2017            $-487,200,000       $5,079,200,000        $310,000,000       $4,235,300,000
      2016            $111,667,000        $3,235,900,000        $207,100,000       $3,761,000,000
      2015            $103,856,000          2,946,900,000       $211,250,000       $1,934,561,000
      Total
      Performance     S-7.247.333.000     S26.928.600.000


  94. Corporate debt for AMC increased significantly, starting at $1.93 billion in 2016 and surging
     to $4.75 billion in 2019, representing a remarkable 146% increase. In 2020, during the COVID-
     19 pandemic, the debt further spiked by an additional $962.4 million, marking an almost 20%
     increase.


  95. To fully comprehend how the AMC Board dealt with the financial difficulties and the dilution
     of shareholder value, it is essential to consider AMC s market capitalization. Market
     capitalization, as defined, represents the total dollar market value of a company's outstanding
     shares of stock. It is a crucial metric for assessing a company's size and value. When new
     shares are issued into the market, the same market valuation is distributed across a greater
     number of shares, impacting existing shareholders' ownership percentage. Therefore, a focus
     solely on share prices is misleading, as it provides little insight into the true value the market
     attributes to the company and may lead to false conclusions.


  96. Analyzing AMC's market capitalization from 2016 to 2020 reveals a troubling trend of gradual
     depletion. By the end of 2019, it had plummeted to a low point of $0.75 billion. The decline
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      continued into 2020, with a further drop of 39.07%, resulting in market capitalization reaching
      nearly $0.45 billion by the year's end, marking its all-time lows.


  97. The impact of the "Meme Stock Frenzy" is evident in the significant fluctuations observed in
      AMC's market capitalization as shown by the chart below.




    Market cap history of AMC Entertainment from 2013 to 2023

    $30B




                           2016                   2019                  2022


                Figure 1: Ma ket cap history of AMC Entertainment from 2013 to 2023



  98. The AMC Board contended that aggressive dilutive actions were necessary for AMC to survive
      the challenges faced by the movie business during and after the pandemic. While it is true to a
      certain point, that issuing more shares is an effective means of raising capital for businesses, it
      was and is not the sole option available for the compan . Aron himself acknowledged this
     fact in a Fox News interview where he publicly stated:

                there are various ways to pa down debt, and one of them is to drive
                                   revenues and to drive earnings .13


  99. However, it's essential to contextualize these assertions by examining the dilutive actions, or
      the absence thereof, prior to the onset of the "Meme Stock Frenzy" in early 2021 to assess the
      validity of these claims. A chart illustrating the history of outstanding shares of AMC since
      2018 underscores that while the company's market capitalization steadily decreased and its



  13 Fox News Interview with Adam Aron Sep 08, 2021: Minute 4:40, Source:
  https://www.youtube.com/watch?v=fRiC048nYeI
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      debt burden rose, the number of outstanding shares remained relatively stable at a very low
      level compared to figures observed in 2023, as demonstrated by the following analysis.


  100. The following chart shows the history of the outstanding shares of AMC from 2018 until
     March 8, 2023.14

       AMC Entertainment Holdings Shares Outstanding: 1.457B for March 8,2023
       VIEW 4,000* FINANCIAL DATA TYPES.

         Search                                                                   ADD   C? BROWSE


           Shares Outstanding Chart                                                 VIEW FULL CHART




      Figure 2: Chart AMC Entertainment Shares Outstanding from 2018 to 2023 (since
      Aug 22, 2022 AMC & APE combined)

  101. While AMC's market capitalization was on a downward trajectory and its debt burden was
     increasing15, the number of outstanding shares remained notably stable at very low levels
      before 2021, especially when compared to figures from 2022 and 2023. During this period, the
      AMC Board did not propose a reverse split as a strategy to bolster the share price, nor did they
      undertake aggressive stock dilution while the stock was trading at historic lows in order to
      stabilize the share price.




  14 The total amount of shares in the chart are all subclasses combined. Source: AMC Entertainment
  Holdings Shares Outstanding (vcharts.com )
  15 Long Term Debt December 31st, 2016: $3,827 Billion; Long Term Debt December 31st, 2019:
  $4.753Billion Source: https://vcharts.com/companies/AMC/total_lon term debt
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   AMC Entertainment Hold ngs Total Long Term Debt (Quarterly): 5.141 B for Dec. 31,2022
   VIEW 4.000* FillAliCi L DATA TYPES:

     Search                                                                                        ADD       03 DROWSE


       Tolal Long Term Debt (Quarterly) Chart                                                            VIEW FULL CHART


         ID 5D IM 3M 6M YTD 1Y 3Y 5Y 10Y MAX
                                                                                           Select area
                                                                                            to zoom




              Figure 3: Chart AMC Entertainment Long Term Debt (Quarterly) from 2018 to 2023

  102. The evidence presented indicates that even prior to the onset of the COVID-19 pandemic,
        AMC was navigating a financially precarious path. Despite achieving remarkable domestic
        box office revenues of $5.5 billion in 2019, the company found itself in a non-profitable
        position, reporting a loss of -$149,100,000.00 USD, and its market capitalization had reached
        record lows.


  103. Despite AMC accruing increasing debt prior to the pandemic and its subsequent impacts,
     the AMC management team continued to distribute cash dividends to shareholders. This
     practice strained the company's financial resources and, to some extent, benefited the
     management team personally. This is because the management's personal financial interests
        were linked to stock grants through the Executives Incentive Program (EIP)16, which
        incentivized them to prioritize cash dividends17.




  16 Interview Adam Aron with Trey s Trades on YouTube on April 14th, 2021: Minute 6:15 - 8:20 Adam
  Aron: ... there are more than 100 executives at AMC in the U.S. and Europe who are granted stock each
  year... Source: https://www.youtube.com/watch?v=XjqCaNKsSbc&t=4209s
  17 Page 128: AMC s Board of Directors approved awards of stock, RSUs, and PSUs to certain of the
  Company s employees and directors under the 2013 Equity Incentive Plan. During years 2019, 2020, and
  2021, the grant date fair value of these awards was based on the closing price of AMC’s stock on the date
  of grant, which ranged from $1.73 to $15.13 per share.
  Source: https://www.sec.gov/ix?doc=/Archives/edgar/data/0001411579/000155837022002577/amc-
  20211231xl0k.htm
  Page 145 Vested RSUs, PSUs, and SPSUs have dividend rights identical to the Company’s Common Stock
  and are treated as outstanding shares for purposes of computing basic and diluted earnings per share. For
  the year ended December 31, 2021, December 31, 2020, and December 31, 2019, unvested RSUs of
  2,247,625,1,131,333, and 1,377,992, respectively, were not included in the computation of diluted earnings
  (loss) per share because they would be anti-dilutive. Source:
  https://www.sec.gov/ix?doc=/Archives/edgai7data/0001411579/000155837022002577/amc-
  20211231xl0k.htm
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  104. The charts demonstrate that the AMC Board only began diluting shareholders and raising
     cash in late 2020, albeit at a slow pace. AMC s Board has astronomically diluted their
      stockholders by the end of 2020 by 115% (+120.09M)18, from December 31st, 2020 to January
      22nd, 2021 by additional 51% (+114.74M)19, from January 22nd, 2021 to March 11th, 2021 by
      another 33% (+111.O9M)20 and from March 11th, 2021 to June 30th, 2021 by further 14%
      (+63.17M)21. The rate of dilution increased significantly at the onset of the "Meme Stock
      Frenzy" when retail shareholders entered the scene en masse.


  105. With the influx of retail investors triggering a surge in AMC s stock price, it prompted a
     surprising shift in focus by the AMC Board.


  106. Suddenly, the AMC leadership shifted the narrative to stockholders, emphasizing the
     critical need to rescue AMC from bankruptcy and prevent further financial setbacks. This was
    proposed through a lifeline of aggressive dilution on shareholder value.


  107. This shift in priorities raises questions about the intentions of the AMC Board and their
     willingness to exploit the enthusiasm and investment of retail investors. Their actions were
      primarily driven by the opportunity to capitalize on a volatile stock price, rather than a genuine
      concern for the company's well-being. Therefore, it is crucial to highlight the casualties of
      these events and the actions of the AMC Board, emphasizing their initial lack of urgency
      followed by a shift in focus after the entry of retail investors. This disparity indicates a strategic
      exploitation of retail investors for the Board's own gain, rather than a genuine alignment with
      the goals and interests of the stockholders.




                                       Meme Stock Phenomenon



  108. In August of 2020, Keith Gill (known as the YouTube persona, Roaring Kitty ) posted a
      viral video, explaining why GameStop Corp. ( GME ) shares could soar from $5 to $50 per




  18 Source: https://vcharts.com/companies/AMC/shares outstanding
  Shares outstanding, Febr ary 21, 2020: 104.24M; December 31, 2020: 224.33M; (224.33M / 104.24M) -1
  = 1.15
  19 Shares outstanding, January 22, 2021: 339.07M; (339.07M / 224.33M) -1 =0.51
  20 Shares outstanding, March 11, 2021: 450.16M; (450.16M / 339.07M) -1 = 0.33
  21 Shares outstanding, June 30, 2021: 513.33M; (513.33M / 450.16) -1 =0.14
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     share due to a massive short squeeze.22 He highlighted that GME's stock had one of the highest
     short interests in the market, predominantly with short positions held by hedge funds. He
     reasoned that these funds would be compelled to cover their short positions in the face of a
      substantial short squeeze, which could drive the stock to much higher levels. This analysis
     played a crucial role in fueling the subsequent events surrounding GME's stock.23


  109. During the month of August of 2020, GME s daily trading range varied between a high of
     $5.60 and a low of $4.00.


  110. With the onset of the COVID-19 pandemic in early 2020, GME had approximately one-
      third of U.S. stores locations closed, with two-thirds of stores closed to customers but available
      for curbside pick-up. GME s comparable store sales for the nine-week period ending April 4th,
     2020, declined approximately 23% on a year-over-year basis, which included the impact of the
     majority of stores closed in most operating countries throughout the fiscal month of March.


  111. According to FactSet, approximately 140% of GME’s public float had been sold short.24




  22 The Big Short SQUEEZE from $5 to $50? Could GameStop stock (GME) explode higher?? Value
  investing! Youtube Video by Roaring Kitty. Aug 21, 2020. Link:
  https://www.youtube.com/watch?v=alntJzgOUm4&list=PLlsPosngRnZ10LfGPDLLC3a8k_rrwFNk6.
  Secondary Link: Hayes, Adam. "What Are Meme Stocks, and Are They Real Investments?".
  Investopedia. Updated August 31, 2023. Link: https://www.investopedia.com/meme-stock-
  5206762#:~:text=A%20meme%20stock%20refers%20to,due%20to%20heightened%20social%20sentime
  nt
  23 Hayes, Adam. "What Are Meme Stocks, and Are They Real Investments?". Investopedia. Updated
  August 31,2023. Link: https://www.investopedia.com/meme-stock-
  5206762#:~:text=A%20meme%20stock%20refers%20to,due%20to%20heightened%20social%20sentime
  nt
  24 Fitzgerald, Maggie. "Bed Bath & Beyond, AMC rally with GameStop as little investors squeeze hedge
  funds in more stocks". Mon, Jan 25th 2021. CNBC Link: https://www.cnbc.com/2021/01/25/bed-bath-
  beyond-amc-rally-wjoin-gamestop-in-rally-as-trend-of-retail-investors-squeezing-hedge-funds-
  spreads.html
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        The most shorted names in the stock market
        Stocks in the S&P 1500 with the highest p rcenta e of loat shares sold short

          Ticker           Name                                                        SI % of Float A
          GME              GameStop Corp. Cl ss                                               138.32%
          LG ND            Ligand Ph rmac uticals Incorpor te                                 64. -4
          BBBY             Bed Bath <& Beyond Inc.                                            64.08%
          FIZZ             National Bev ra         Corp.                                      62.52
          AMCX             AMC Networks Inc. Class A                                          60.22%
          MAC              Macerich Company                                                   58.44%
          SKT              Tang r F ctory Outlet Centers, Inc.                                 49.7%
          TR               Too sie Roll Industries, Inc.                                      45.85%
          P CE             Childr n s Place, Inc.                                               7.88
          IRBT             IRobot Corporation                                                    .42%

         S urce: FactSet




  112. A few days later, after Roaring Kitty s video post, Ryan Cohen, renowned for his success
       with Chewy, acquired 9 million shares of GME, representing a 12.9% stake in the company.


  113. In November 2020, it became public knowledge of Ryan Cohen s percent stake in GME.


  114. On January 12th, 2021, Ryan Cohen joined the GME Board.


  115. Ryan Cohen’s significant investment and subsequent role as chain an shifted sentiments
       about GME s intrinsic value, attracting more investors from Reddit's WallStreetBets to join
       the movement. This move played a pivotal role in the evolving narrative around GME's stock.


  116. Then, during the month of January 2021, the short squeeze that Roaring Kitty had
       suggested took place in earnest, with the price of GME shares exploding to nearly $500 per
       share on January 28th, 2021.


  117. The main victims of the squeeze ended up being a handful of hedge funds, some of which
       were forced to shut down due to heavy losses.25


  118. As a result, the Meme stock phenomenon, shares of a company that have gained viral
       popularity due to heightened social sentiment, adopted a David vs. Goliath or Robin Hood
       connotation, symbolizing a narrative where small retail investors, often coordinated through
       platforms like Reddit's WallStreetBets, sought to challenge and disrupt established Wall Street
       practices, perceived as favoring the wealthy elite.26


  25 Mathis, Toby. "How Much did Hedge Funds Lose on GameStop?" Infinity Investing. Sep 27, 2021.
  Link: https://infmityinvesting.co / amestop-hedge-fund/
  26 Hayes, Adam. "What Are Meme Stocks, and Are They Real Investments?". Investopedia. Updated
  August 31,2023. Link: https://www.investopedia.com/meme-stock-
  5206762#:~:text=A%20meme%20stock%20refers%20to,due%20to%20heightened%20social%20sentime
  nt
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  119. The movement was characterized by a populist sentiment of empowering individual
       investors against traditional institutional forces.27


  120. Certainly, GME's success as the first meme stock served as inspiration for WallStreetBets
       users, leading them to identify other stocks with heavy short interest. This led to the rise of
       additional meme stocks, including:


                                        • AMC
                                        • Blackberry
                                        • Bed Bath & Beyond
                                        • Koss Corp
                                        • Vinco Ventures; and others,

       as the community of retail investors sought to replicate the dynamics observed in the GME
       situation.28




  121. Indeed, in late January of 2021, AMC became a focal point for retail investors, creating a
       nightmare scenario for hedge funds and market makers betting against this once beat-up stock.



                              AMC Background - Covid-19 Pandemic


  122. With the onset of the COVID-19 pandemic and concomitant drop in movie theater
       attendance, AMC faced an existential crisis. The pandemic forced AMC to close
       approximately 1,000 theaters, furlough most of its 30,000 employees, and bum millions of
       dollars to stave off bankruptcy. As Aron would later recount to Chief Executive, AMC


               went from having $450 million a month of revenue to $450,000 a month of
              revenue in one week. In a week. We had $600 million of cash on hand. But




  27 Hayes, Adam. "What Are Meme Stocks, and Are They Real Investments?". Investopedia. Updated
  August 31, 2023. Link: https://www.investopedia.com/meme-stock-
  5206762#:~:text=A%20meme%20stock%20refers%20to,due%20to%20heightened%20social%20sentime
  nt https://www.investopedia.com/meme-stock-
  5206762#:~:text=A%20me e%20stock%20refers%20to,due%20to%20heightened%20social%20sentime
  nt
  28 Hayes, Adam. "What Are Meme Stocks, and Are They Real Investments?". Investopedia. Updated
  August 31, 2023. Link: https://www.investopedia.com/meme-stock-
  5206762#:~:text=A%20meme%20stock%20refers%20to,due%20to%20heightened%20social%20sentime
  nt
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            all of a sudden, when you re burning $125 million in cash a month, $600
            million doesn t last you very long. 29


  123. With AMC in dire straits, institutional investors fled and short sellers and naked short
      sellers piled on.


  124. On August 3rd, 2020, there were 109,319,377 AMC shares of common stock issued and
      outstanding, consisting of 57,549,593 shares of class A common stock and 51,769,784 shares
      of class B common stock. The total authorized shares under the Third Amended and Restated
     Certificate of Incor oration (the Certificate ) was 524,173,073, as signed on December 17th,
     2O13.30


  125. In 2020, AMC faced a substantial decline in its stock price, witnessing a roughly 73%
     decline from the high of $7.78 on February 20th, 2020 to a year-end close of $2.12. (Note:
     These historical numbers are pre-split numbers and are reported how they traded on the
      actual date. To compare to post reverse split, multiply pre-RS numbers by 10).


                                February 20th, 2020 AMC $7.78
                                December 31st, 2020 AMC $2.12


  126. On December 10th, 2020, AMC entered into a commitment letter with Mudrick Capital
     Management, LP ( Mudrick Capital ), pursuant to which Mudrick Capital has committed to
     purchase $100 million in aggregate principal amount of new 15%/l 7% Cash/PIK Toggle First
     Lien Secured Notes due 2026 to be issued by AMC. The commitment is subject to the
     satisfaction of certain conditions, including the payment of the commitment shares and
     consummation of the Second Lien Exchange. The Notes, when issued, will bear cash interest
     at a rate of 15 percent per annum payable semi-annually in arrears on July 15 and January 15,
     beginning on July 15. Interest for the first three interest periods after the issue date may, at
     AMC's option, be paid in kind at a rate of 17 percent per annum. Thereafter, interest shall be
     payable solely in cash. As consideration for its commitment, Mudrick Capital will receive a
     commitment fee equal to 8,241,758 million shares of AMC's Class A common stock. Mudrick
     will also exchange $100 million aggregate principal amount of AMC's 10%/12% Cash/PIK
     Toggle Second Lien Subordinated Secured Notes due 2026 currently held by Mudrick, for




  29 Bigman, Dan. "How AMC Entertainment Survived The Pandemic". Chief Executive.
  Link: https://chiefexecutive.net/how-amc-entertainment-survived-the-pandemic/
  30 THIRD AMENDED AND RESTATED CERTIFICATE OF INCORPORATION OF AMC
  ENTERTAINMENT HOLDINGS, INC.
  Signed on December 17, 2013. Link:
  https://www.sec.gov/Archives/edgar/data/1411579/000110465913092001/a 13-26957 1 e 3d 1 .htm
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       13,736,264 million shares of the company's Class A common stock, known as the Second Lien
      Exchange.31


   127. As a result, AMC committed to issue an aggregate of 21,978,022 shares of Class A
      common stock in a private placement pursuant to an exemption from the registration
      requirements of the Securities Act. AMC will issue the shares in reliance on an exemption
      from registration provided by Section 4(a)(2) of the Securities Act. AMC will rely on this
      exemption from registration based in part on representations made by Mudrick Capital in the
      Commitment Letter. The shares of Class A common stock will be issued as consideration for
      (i) the commitment provided by Mudrick Capital with respect to the Notes and (i) the Second
      Lien Exchange.


  128. On December 11th, 2020, the New York Post published an article titled Apollo circling
      AMC as theater chain scrambles to stay afloat: sources . The articles reads in part:


                  AMC Entertainment is being circled by a trio of investment firms
            including Apollo Global Management as the movie-theater chain scrambles to
            stay afloat amid the pandemic, The Post has learned. Apollo, which along with
            Canyon Capital Advisors and Davidson Kempner Capital Management are
            holders of AMC s first-lien debt, are urging the company to file for Chapter 11
            bankruptcy and have offered $1 billion in debtor-in-possession financing,
            according to sources close to the situation. The deal would keep its theater doors
            open in the coming year and land AMC in the hands of the investment firms,
           the sources said. Apollo whose embattled chief executive Leon Black is being
           probed over his ties to dead pedophile Jeffrey Epstein is leading the campaign
           to take control of AMC, insiders said.32


  129. On December 28th, 2020, there were 164,298,527 shares of Class A Common Stock and
      51,769,784 shares of Class B Common Stock outstanding.33


  130. In January 2021, retail investors, banding together on a web forum on Reddit.com called
       WallStreetBets, started buying AMC stock in droves, tu ing AMC into a meme stock.


  131. From January 4th, 2021 to January 22nd, 2021, AMC s stock price gradually increased from
      alow of $1.91 to a high of $3.74.


  31 https://www.sec.gov/Archives/edgar/data/1411579/00014115792100003 8/amc-20210331x10q.htm
  32 Kosman, Josh. "Apollo circling AMC as theater chain scrambles to stay afloat: sources".
  New York Post. Published Dec. 11, 2020, 10:24 a.m, ET. Link:
  https://nvpost.eom/2020/12/l l/apollo-circling-amc-as-chain-scrambles-to-stay-afloat-sources/
  33 SEC SCHEDULE 14C. Form Filed on December 31, 2020. Link:
  https://www.sec.gov/Archives/edgar/data/1411579/000110465920140708/tm2038974-2_defl 4c.htm
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  132. The rescue of AMC by retail investors was a major goal of the meme stock movement.


  133. It is no exaggeration to say that retail investors saved AMC.


  134. The trading price of AMC Common Stock continued to rise from $2.12 per share on
     December 31st, 2020, to $4.96 per share by January 26th, 2021 to $19.90 per share by January
     27th, 2021.


                                 December 31st, 2020 AMC $2.12
                                 January 26th, 2021 AMC 4.96
                                 January 27th, 2021 AMC $19.90



  135. In less than 72 hours, AMC went from impending bankruptcy to seeing its stock price rise
     467%, with the hashtag #SaveAMC going viral.




                              At-the-Market Offerings of Treasury Shares


  136. AMC capitalized on the opportunity presented by the increase in its stock price to conduct
     a series of ATM offerings of treasury shares. As disclosed in AMC s annual report, AMC
     raised nearly $1.9 billion in gross proceeds through pandemic-era offerings:


         "ATM" Equity                          Number of Class A              Gross Proceeds (in
      Distribution Agreement                 common stock shares               millions USD)
              Dates                             sold (in millions
                                                        USD)

             9/24/2020                                    15                          $56.1
             10/20/2020                                   15                          $41.6
             11/10/2020                                   20                          $61.4
             12/11/2020                                   40.93 34                   $113.7 35


          Total year ended 12/31/2020                     90.93                      $272.8


  34 December 3rd, 2020 Form S-3, 40.93 million shares out of 200 million ATM
  https://investor.amctheatres.com/sec-filings/all-sec-filings/content/0001104659-20-131796/tm2036414-
  l_s3.htm
  35 https://investor.amctheatres.com/sec-filings/all-sec-filings/content/0001411579-21-000038/amc-
  20210331xl0q.htm page 56
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            12/11/2020                               137.07                     $352.6
            1/25/2021                                  50                       $244.3
            4/27/2021                                  43                       $427.5
            6/3/2021                                  11.55                     $587.4
          Total year ended 12/31/2021                241.62                    $1,611.8



  137. AMC used the following underwriters to execute the AMC common stock ATM offerings
     for the following below dates:


          "ATM" Equity
      Distribution Agreement                           Underwriters
             Dates
             9/24/2020             Citigroup Global Markets Inc Goldman Sachs & Co. LLC
            10/20/2020             Citigroup Global Markets Inc Goldman Sachs & Co. LLC
            11/10/2020                Goldman Sachs & Co. LLC         B. Riley Securities, Inc
            12/11/2020                Goldman Sachs & Co. LLC         B. Riley Securities, Inc
            12/11/2020                Goldman Sachs & Co. LLC         B. Riley Securities, Inc
            1/25/2021                 Goldman Sachs & Co. LLC         B. Riley Securities, Inc
            4/27/2021                 Goldman Sachs & Co. LLC         B. Riley Securities, Inc
                                                 Citigroup Global Markets Inc
            6/3/2021                  B. Riley Securities, Inc Citigroup Global Markets Inc

  138. As reflected above, AMC used either 2 or 3 underwriters during the AMC common stock
     ATM s in 2020 and 2021.

  139. AMC also issued equity to retire a portion of its debt. Ultimately, AMC issued nearly all
     of the shares authorized under the Certificate to survive the pandemic.


  140. AMC adopted its Third Amended and Restated Certificate of Incorporation (the Charter )
     in connection with AMC s initial public offering in 2013. The Charter provided AMC with
     authority to issue up to 650,000,000 shares, consisting of (i) 524,173,073 shares of Class A
     common stock, (ii) 75,826,927 shares of high-voting Class B common stockl which were
     convertible to Class A common stock under various circumstances and (iii) 50,000,000
     shares of Preferred Stock.36 Pursuant to the Charter, each share of Class A common stock was
     entitled to 1 vote per share. Class B common stock was entitled to 3 votes per share. And the
     terms and preferences of the Preferred Stock, including voting rights, if any, were to be
     established by AMC s Board of Directors.

  36 THIRD AMENDED AND RESTATED CERTIFICATE OF INCORPORATION OF
  AMC ENTERTAINMENT HOLDINGS, INC. Filed with SEC. Dated December 17, 2023.
  Link: https://www.sec.gov/Archives/edgai7data/1411579/000110465913092001/al3-26957_lex3dl.htm
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  141. Prior to 2021, AMC had only issued shares of Class A and Class B common stock. The
      Company had not established or issued any series of preferred stock.


  142. On January 25th, 2021, AMC opened at $4.71, gapping up $1.20 from the previous close
      of $3.51, with an intraday high of $4.88, and an intraday low of $3.85. The stock closed at
      $4.42, accompanied by a significant daily trading volume at 443,238,100 shares.


                          Date Open High                 Low Close Volume
                       Jan. 25, 2021 4.71 4.88           3.85 4.42 443,238,100
                       Jan. 22, 2021 2.91 3.74           2.81 3.51 268,273,400

  143. That morning, AMC disclosed that since December 14th, 2020, it has raised $917 million
      of new equity and debt capital. AMC raised $506 million of equity, from the issuance of 164.7
      million new common shares, along with the previously announced securing of $100 million of
      additional first-lien debt and the concurrent issuance of 22 million new common shares to
      convert $100 million of second-lien debt into equity. In addition, AMC has executed
      commitment letters for $411 million of incremental debt capital in place through mid-2023,
      unless repaid before then, through the upsizing and refinancing of its European revolving credit
      facility.37 Aron stated,
                                                                                     i

               This means that any talk of an imminent bankruptcy for AMC is
             completely off the table 38


  144. Traditionally, equity dilution combined with an increased debt would have lowered AMC's
      stock price because it increases the outstanding share amount, thus diluting previous
      shareholder value. However, retail investors brought up the new shares.


  145. On January 27th, 2021, AMC opened at $20.34, gapping up $15.38 from the previous close
      of $4.96, experiencing an extreme volatile trading day with an intraday high of $20.36, and an
      intraday low of $11.01.39 The stock closed at $19.90, accompanied by a significant daily
      trading volume at 1,222,342,500 shares




  37 https://www.businesswire.com/news/home/20210125005273/en/AMC-Raises-917-Million-of-Fresh-
  Investment-Capital-Since-Mid-December-of-2020
  38 Whitten, Sarah. AMC Entertainment says bankruptcy is off the table after raising more than $900
  million since December. January 25, 2021. Quoting CEO Adam Aron. Link:
  https://www.cnbc.com/2021/01/25/amc-says-banlcruptcy-off-the-table-after-raising-more-than-900-
  million.html
  39 Historical Data on AMC stock in this example are iven with the actual price on those dates. In order to
  compare to post-RS share structure, multiply historical numbers by 10 to compare to post RS numbers.
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                           Date Open High Low Close Volume
                         Jan. 27,2021 20.34 20.36 11.01 19.90 1,222,342,500
                         Jan. 26,2021 5.09 5.19 4.37 4.96 456,850,200


  146. That morning, CNBC s Pippa Stevens reported that AMC had 24% of its float tied up in
     short interest.40


  147. Later that Wednesday evening, at 8:00 pm EST, after AMC traded a little over 1.2 billion
     shares, the AMC Board convened a special meeting via Zoom. Aron recommended that
     Company schedule a special stockholders meeting to amend its certificate of incorporation to
     authorize another 500 million shares in case Company decides to use equity in additional
     deleveraging strategies.


  148. Aron also gave the AMC Board notice about:


             • the week s ATM results, including after-hours trading on Tuesday
             • Silver Lake Group and a certain co-investor 41 converted its $600 million of
                 convertible debt into approximately 44 million shares of AMC stock and they sold
                 their shares on the open market today
             • registering the remaining 63 million AMC shares
             • working with Moelis/Weil42 to explore ways to sell newly issued stock and selling
                  such stock
              • using such stock in exchanges

  149. Aron also proposed adding Philip Lader to the pricing committee.


  150. The AMC Board adopted a resolution proposing to amend AMC s Charter to increase the
      total number of authorized shares of Class A common stock by 500,000,000 shares to a total
      of 1,024,173,073 shares of Class A common stock (the First Charter Amendment Proposal ),
      and resolved to submit that proposed amendment to a vote of the Class A common stockholders
      at AMC’s annual meeting on May 4th, 2021 (the “2021 Annual Meeting ).


   151. Aron's proposal is notable for its significant magnitude, especially in light of the
      outstanding float at that time, being a little over 400 million shares, with 63 million shares still
      available for issuance. During the special meeting, no documentation was provided to
      demonstrate that any financial analysis was undertaken to justify the recommendation to
      authorize an additional 500 million shares.



  40 https://ww .cnbc.com/2021/01/27/amc-shares-triple-as-retail-investor-raid-of-hedge-fund-short-
  targets-spreads-from-gamestop.html
  41 https://www.sec.gov/Archives/edgar/data/1411579/000110465921048386/tm2112373dl_scl3da.htm
  42 Investment banker / outside counsel
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   152. As a result, January 27th, 2021 marked the genesis of Project Popcorn.


   153. While Silver Lake Group and a certain co-investor converting its debt flooded the market
       with new AMC shares, it also wiped $600 million of debt off AMC s books.


   154. Amid the extreme trading volatility in January 2021, on Thursday, January 28th, 2021,
      several online trading platforms, including Robinhood and Interactive Brokers, restricted the
      purchase of several securities such as AMC and GME.


   155. Robinhood cited market volatility as the reason for the restrictions but allowed customers
      to sell their positions in the affected stocks. Additionally, Robinhood raised margin
      requirements on certain securities. As a result, retail investors refer to January 28th, 2021 as the
      day when the buy button was taken away.


   156. On January 28th, 2021, with the buy button removed, AMC opened at $11.98, gapping
      down $7.92 from the previous close of $19.90, experiencing an extreme volatile trading day
      with an intraday high of $16.50, and an intraday low of $6.51. 43 The stock closed at $8.63,
      accompanied by a significant daily trading volume at 591,223,900 shares



                          Date Open High                   Low Close          Volume
                        Jan 28,2021 11.98 16.50              6.51 8.63       591,223,900
                        Jan. 27,2021 20.34 20.36            11.01 19.90     1,222,342,500



  157. On January 29th, 2021, the Silver Lake Group conversion settled and resulted in the
      issuance of 44,422,860 shares of Class A common stock to Silver Lake Group and a certain
      co-investor .



  158. Pursuant to a Stock Repurchase and Cancellation Agreement (the “Stock Repurchase
      Agreement ) between AMC and Wanda America Entertainment, Inc. “WAE , a Delaware
      corporation and a U.S. based subsidiary of Wanda Group, dated as of September 14th, 2018,
      5,666,000 shares of Class B Common Stock held by WAE were forfeited and canceled in
      connection with the conversion by Silver Lake Group and a certain co-investor on January
      29th, 2021.




  43 Historical Data on AMC stock in this example are given with the actual price on those dates. In order to
  compare to post-RS share structure, multiply historical numbers by 10 to compa e to post RS numbers.
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  159. On February 1st, 2021, WAE, on behalf of nine Chinese companies and Jianlin Wang,
      converted all 46,103,784 AMC Class B common stock into 46,103,784 AMC Class A common
      stock. While Wanda remained AMC s largest single shareholder, the conversion, as well as
      AMC s financing efforts took its stake below 37% effectively surrendering its majority control
      since Class A common only provides one vote per share while Class B provides three votes.


  160. Following WAE s conversion, AMC retired the Class B common stock by filing a
      certificate of retirement with the secretary of state of the state of Delaware. As a result, the
      charter no longer permitted the issuance of Class B common Stock, and the only outstanding
      voting securities of AMC were its shares of Class A Common Stock.


  161. Also on February 1st, 2021, WAE sold 2,061,060 shares of Class A common stock in the
      open market at a weighted average price of $14.5901 per share.44


  162. On February 22nd, 2021, Aron issued a statement on the reopening of movie theaters in
      New York City stating in part,


          Governor Cuomo's announcement that movie theatres can reopen in New York City in
         the first week of March is another important step towards restoring the health of the movie
         theatre industry and of our Company. We are excited to announce that AMC, the largest
         movie theatre exhibitor in New York City, will reopen all 13 of our theatres in New York
         City beginning March 5. 45


  163. On March 11th, 2021, there were 450,156,186 AMC shares of common stock issued and
      outstanding.46


  164. On March 15th, 2021, an analyst report 47 published by Citi Research for Citigroup Global
      Markets Inc., revealed a significant conflict of interest, as Citigroup disclosed its role as
     AMC s

                                • business client
                                • market maker



  44 https://www.sec.gov/Archives/edgar/data/1411579/000110465921048386/tm2112373dl_scl3da.htm
  45 https://www.businesswire.com/news/horne/20210222005894/en/AMC-Theatres-Statement-on-the-
  Reopenin -of-Movie-Theatres-in-New-York-City
  46

  https://www.sec.gov/Archives/edgar/data/1411579/000104746921000518/a2243000zprel4a.htm#da4780
  1 _proxy_summary
  47 Link: https://www.docketalann.com/cases/Delaware State Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HQLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 6 Pages 341-352
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                                  • investment banker
                                  • underwriter
                                  • analyst
                                  • and holder of "significant financial
                                      interest" and its affiliates in AMC.48



                                                See Exhibit A

  165. Despite these connections, Citi Research recommended a sell rating and a $2.00 price target
      for AMC in early 2021. In March 2021, AMC's daily trading range fluctuated between a high
      of $14.54 and a low of $7.50. Citi Research's recommended price target of $2.00 suggested a
      potential ne ative market return of over 85%.


  166. The dual role of Citigroup Global Markets Inc., both as a financial advisor to AMC and a
      market participant (market maker), coupled with a public bearish stance on the stock, does
      raise valid concerns about potential conflicts of interest. Such conflicts may indeed
      compromise the objectivity of Citigroup Global Markets Inc., acting as a financial advisor to
      AMC and may negatively impact AMC stockholders. The apparent oversight by the AMC
      Board in addressing this conflict raises questions about fulfilling their fiduciary responsibility
      to stockholders.


  167. In March 2021, Aron bestowed a combined 500,000 shares of AMC stock upon his two
      sons, Jeremy Aron and David Aron, an act that has proven to be exceptionally prescient. At
      the time of the gift, the stock was valued at $8.03 per share.

  168. On March 17th, 2021, AMC announced a significant milestone in its recovery plan, stating
      that 98% of its U.S. theaters would be open for guests to enjoy the cinematic experience on the
      big screen.


  169. This reopening initiative was set to commence on Friday, March 19th, 2021, with
    expectations that by the following Friday, March 26th, 2021, 99% of the U.S. circuit would be
    operational. Notably, more than 40 AMC locations in California were scheduled to reopen
    starting March 19th, 2021, encompassing all 25 locations in Los Angeles County and all eight
    locations in San Diego County. By Monday, March 22nd, 2021, AMC anticipated that 52 out
    of its 54 locations in California would have reopened their doors to moviegoers.49




  48 For an explanation of the determination of significant financial interest, please refer to the policy for
  managing conflicts of interest which can be found at www.citiVelocity.com
  49 https://www.businesswire.com/news/home/20210317005838/en/AMC-Theatres%C2%AE-to-Have-98-
  of-Its-U. S ,-Locations-Open-Beginning-Friday-March-19
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  170. On March 19th, 2021, AMC filed a proxy statement with the SEC, through which the AMC
      Board solicited stockholder support of a proposal to approve an amendment to the Certificate
      to increase the total number of Common Stock shares authorized under the Certificate (the
       Rejected Proposal ).


  171. The original iteration of the Rejected Proposal, was met with disapproval from many of
      the retail investors, who had driven up AMC s stock price, and did not want to be diluted
      through new equity issuances, and may have had (well-founded) misgivings about the
      advisability of giving management so much dry powder to use equity to fund questionable
      investments.


  172. AMC took responsive action to the opposition to the Rejected Proposal.


  173. On March 19th and 20th 2021, WAE sold 1,582,996 and 12,004,438 shares of Class A
      common stock in the open market at a price of $14.43 and $13.98 per share, respectively.50


  174. On March 31st, 2021, there were 450,280,240 AMC shares of common stock issued and
      outstanding.51


  175. During the month of March of 2021, AMC s stock price traded at a low of $7.50 and a high
      of $14.49, closing the month at $10.35.


  176. On April 1st, 2021, Aron gave an interview to Jim Cramer and Carl Quintanilla which
      originally aired on CNBC where he publicly discussed the proposal and attempted to quell
      stockholder concern about dilution caused by the authorization and/or issuance of additional
      common stock.


           “Dilution is something we care about but I would also tell you we are formally
           asking for approval from our shareholders to authorize another 500 million
           shares that the company could issue if it wishes. There are a lot of benefits to
           our shareholders of having board-authorized shares out in the market. We will
           be sensitive to dilution issues. At the same time, though, there s an opportunity
           to bolster our cash reserves. There’s an opportunity to buy back debt at a
           discount. There might be an opportunity to defray some of our deferred theater
           rents; settling with stock instead of cash; maybe there’s some merger and
           acquisition opportunity where we could buy other companies inexpensively
           using our stock as currency, there are a lot of good reasons for shareholders to


  50 https://www.sec.gov/Archives/edgai7data/1411579/000110465921048386/tm21 12373d 1 scl3da.htm
  March 20th, 2021 is a Saturday
  51 https://investor.amctheatres.com/sec-filings/all-sec-filings/content/0001411579-21-000038/amc-
  2021033lxlOq.htm
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            give us the authority to have more shares ... That doesn t mean we ll use all of
            those shares right away, but it does give the company optionality and flexibility;
            and optionality and flexibility when you’re navigating these uncharted waters of
            pandemic are very good things. 52


  177. During the April 1st, 2021 interview, Aron completely downplayed the impact of dilution
      especially on ea ings per share (EPS). This is evident when comparing the years 2020 and
      2021 for AMC. With an increased number of outstanding shares in late 2020 and 2021,
      achieving an EPS of $1 would necessitate ea ing a higher net income of $501,780,240 in 2021
      compared to the $109,000,000 required in mid-2020. This comparison effectively illustrates
      how dilution can impact a company's financial metrics, highlighting the importance of
      considering dilution effects when evaluating performance.


  178. On April 14th, 2021, Aron gave an interview with Tremayne Collins ( Trey ) (a YouTube
      personality with a significant following among retail investors) which aired on the YouTube
      Channel Trey’s Trades. During that interview, Aron proclaimed:


            “We are going to pledge right now today publicly and we will file this publicly
            so it will be binding on us, because you can’t announce intentions and then not
            cany through it, we hereby pledge at AMC that if the shareholders approve this
            authorization for 500 million new shares to be issued we will not use one of
            those 500 million shares in calendar year 2021. Not one. 53


  179. Of particular significance about this April 14th, 2021 interview was how Aron introduced
      and portrayed himself skillfully as one of the group, emphasizing the shared goal of protecting
      AMC from its enemies.


  180. It's notable that the interview was viewed around 450 thousand times on YouTube and was
      shared across various social media platforms. The widespread engagement suggests a
      significant level of interest in the discussed content.


  181. During this pivotal interview, Aron addressed the issue of short sales, acknowledging the
      company's vulnerability and the ongoing attack it faces. Furthermore, Aron highlighted his
      significant ownership of AMC shares, emphasizing that the executives' compensation
      primarily consisted of stock rather than cash. This was intended to instill confidence among
      retail stockholders, assuring them that the executives' interests aligned with theirs, as a growing


  52 Transcript of April 1st, 2021 Adam Aron interview with Jim Cramer and Carl Quintanilla. Filed as
  Schedule 14A with the SEC. Date of Interview April 1, 2021. Link:
  https://www.sec.gov/Archives/edgai7data/1411579/000110465921045704/a21 -11926 ldefal4a.htm
  53 Interview Adam Aron with Trey’s Trades on YouTube from April 14th, 2021, Time: 1:09:50 - 1:11:00,
  Source: https://www.youtube.com/watch?v=XjqCaNKsSbc&t=4209s
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      stock price directly benefited both parties. Throughout the interview, Aron consistently
      endeavored to bolster stockholder faith and confidence in his leadership and the AMC Board.
      He publicly declared that AMC had already amassed a formidable cash reserve surpassing
      $1,822 billion and still possessed 43 million shares that could be issued at their discretion if
      the company would need it. Although he addressed the sale of stock by some executives during
      the January 2021 surge, he attributed it to their human nature, having endured relentless
       attacks for over a year, and their desire to secure some gains a calculated move aimed at
      leveraging the sentiment against short sellers 'attacking' the company and driving down the
      share price.


  182. On April 27th, 2021, the AMC Board met and discussed the rejected proposal. Per Aron,
      the rejected proposal was destined to fail. He explained that [AMC] now ha[d] an
      approximate 85% retail shareholder base. Most of those stockholders a e voting o on
      share a thoriz tion because they want fewer shares, not more, to create scarcity to make
      it harder for the short sellers to borrow shares. Aron also noted that even securing a 50%
      voting quorum is proving to be a challenge with this retail stockholder base as many don’t
      vote and many of the shares have changed hands since the record date. In addition, Aron
      indicated that the Company would likely take the share authorization proposal to the
      stockholders at a special meeting later in the year or in 2022.   54


  183. Following Aron s presentation to the AMC Board, and before having to announce voting
      results the AMC Board agreed to withdraw the rejected proposal and not seek its approval by
      the stockholders.


  184. That same day, at 6:39 pm, Aron tweeted:


              It is important for company management teams to listen to their
             shareholders. Many of you are not ready as of yet for a 500 million share
             authorization increase, so we have tabled the idea for now. There will be no
             vote on this matter on May 4. 55


  185. The AMC Board continued to explore ways to increase the number of shares of Common
      Stock authorized by the certificate, however.




  54 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 66. Link:
  https://dlio3yog0oux5.cloudfront.net/_779485efbcfa5fdb29eca0e9b7a2fbb7/amctheatres/db/2397/23093/
  file/unredacted-operative-complaint.pdf
  55 CEO Adam Aron on X (formerly called twitter). April 27th, 2021. X.com
    Link: https://twitter.com/CEOAdain/status/1387174679253815303
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                                    1620



  186. Also on April 27th, 2021, AMC announced that to further bolster its cash reserves, it filed
      a shelf registration today with the SEC to permit the issuance and sale of up to 43 million
      shares of the Company s Class A Common Stock from time to time through an ATM equity
      offering program. Aron states in part,


            We have previously pointed out that the sale of up to 43 million AMC shares, the
          currently available amount for possible issuance under a previous shareholder
          authorization, should more than satisfy AMC s liquidity needs for 202156


   187. During the month of April of 2021, AMC s stock price traded at a low of $9.15 and a high
       of $12.22, closing the month at $10.20.


  188. On May 4th, 2021, the AMC Board met and Aron “discussed the propriety of postponing
      Company’s annual stockholder meeting and setting a new record date to provide a better
      opportunity to pass [redacted] and perhaps the share authorization proposals. When
      discussing seeking stockholder approval of an increase to the Common Stock, the Board noted
      that [a]uthorization may be difficult because: (i) “A massive amount of stock has turned over
      recently ; (ii) the “Investor base is widely dispersed, and heavily weighted towards retail
      investors ; and (iii) “Requires majority votes outstanding (225M votes). To offset these
      concerns, the Board considered whether it should “[ojpportunistically find a time with lower
      volumes or “[l]aunch [such a proposal] with broader PR campaign. 57


  189. “The AMC Board also considered ways in which it could restructure its balance sheet.
      Notably, despite AMC having multiple means of raising capital, including deploying its blank
      check preferred stock to benefit the common stockholders, the only proposals presented to
      the AMC Board contemplated AMC obtaining authorization to issue additional Common
      Stock. 58


  190. Later that day, AMC announced that the AMC Board had postponed the annual meeting of
      stockholders to July 29th, 2021, to “provide additional time for its millions of current individual
      shareholders to have their voices heard and more time to cast ballots on important shareholder
      matters. 59


  56 AMC Entertainment Announces At-The-Market Offering Program and Withdraws Proposal to
  Increase Authorized Shares. Business Wire. April 27, 2021. Link:
  https://www.businesswire.com/news/home/20210427006180/en/AMC-Entertainment-Announces-At-
  The-Market-Offering-Program-and-Withdraws-Proposal-to-Increase-Authorized-Shares
  57 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 68.
  58 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 69.
  59 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 70
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  191. On May 4th, 2021, the AMC Board also amended its bylaws to lower the quorum
      requirement. AMC went from requiring that a majority of the stock issued and outstanding and
      entitled to vote at any meeting of the stockholders be present at a meeting to requiring that just
      one third of the stock issued and outstanding and entitled to vote at any meeting of the
      stockholders be present. 60


  192. On May 13th 2021 Aron Tweeted publicly to his audience of retail investors:


                   AMC just announced that in only two weeks we completed our 43
                  million share At The Market equity raise. We got $428 million more
                  cash, prior to commissions/fees, which clearly puts AMC in a stronger
                  position to tackle the challenges and capitalize on the opportunities
                  ahead. 61



  193. On May 13th, 14th, 17th, and 18th of 2021, Wanda unloaded their remaining shares in AMC
      in the open market, except for 10,000 shares. Then, on May 21st, 2021, WAE filed their FORM
      SC 13D/A, amending the statement of beneficial ownership to reflect ownership of only 10,000
      shares.


  194. On May 25th, 2021, AMC s stock price finally surged above the $15 level, closing the
      trading day at $16.41. Leading up to this breakthrough, from May 1st to May 24th, 2021, AMC's
      stock price traded in a range of $8.93 to $14.67.


  195. On Friday, May 28th, 2021, AMC common stock opened at $31.81, hit a high of $36.72,
      an intraday low of $24.17 and closed at $26.12. 62


                May 28th, 2021 Open: $31.81 High: $36.72 Low: $24.17 Close: $26.12

  196. With AMC's new 52-weekhigh reaching $36.72, just $3.28 away from the $40 mark, Jason
      Mudrick of Mudrick Capital felt a sense of urgency regarding the naked calls his firm held at
      $40, which could potentially be exercised.


  197. However, Jason Mudrick devised a plan to address this situation. Over the Memorial Day
      weekend (May 29th -May 31st 2021), he negotiated a deal with Aron, to purchase 8.5 million

  60 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 71
  61 CEO Adam Aron on X (formerly called twitter). May 13th, 2021. X.com
    Link: https://twitter.com/CEOAdain/status/1392876491864690694
  62 These historical numbers are pre-split and are not adjusted. To compare to post-RS numbers, multiply
  by 10.
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      new shares of AMC stock. Mudrick agreed to pay a $1 premium of $27.12 per share for these
      newly issued shares. This strategic move allowed Mudrick Capital to mitigate the risk
      associated with their naked calls and maintain control over their position in AMC.


  198. However, the question arises: where did these 8.5 million shares come from, considering
      that according to Aron, only 43 million shares were left on April 14th, 2021, and they were all
      sold by May 13,h, 2021?

  199. On June 1st, 2021, sometime between 6:00 am EST and 6:52 am EST, AMC made an
      announcement in an SEC filing disclosing that it had sold 8.5 million shares of its stock to
      Mudrick Capital. The shares were sold at a price of $27.12 per share, resulting in total proceeds
      of over $230.5 million for AMC.63


  200. Jason Mudrick also lea ed that AMC was planning to float 11.5 million new shares to
      generate additional cash.


  201. Then, on Tuesday, June 1st, 2021, when the market opened after the holiday weekend, Jason
      Mudrick earned a profit of a few million dollars by promptly selling all 8.5 million shares, and
      subsequently publicly stating that AMC shares were overvalued. As Bloomberg pointed out at
      the time, this was a very unusual move:


            Raising cash throu h an equity sale to a sin le holder is relatively rare in U.S.
           markets. Having the holder flip the stock right after buying it is almost unheard of -
           usually the buyer is an existing stakeholder trying to send a message of stability to the
           market. 64


  202. But after Jason Mudrick sold the 8.5 million shares, he failed to exit his short position,
      according to the Wall St. Journal, which cited unnamed sources. 65


  203. On June 2nd, 2021, AMC common stock opened at $37.52, hit a high of $72.62, which
      established the high for AMC s meme run, and closed at $62.55.66



  63 https://www.sec.gov/Archives/edgar/data/1411579/0001 10465921074584/tm2117986d3_defal4a.htm
  64 https://www.bloomberg.com/news/newsletters/2021-06-02/money-stuff-amc-brings-out-the- opcorn
  Link 2: https://www.wsj.com/articles/amc-bet-bv-hed e-fund-unravels-thanks-to-meme-stock-traders-
   11623431320?utm source=newsletter&utm medium=email&utm_campaign=newsletter axiosmarkets&s
  tream=business
  65 https://www.bloomberg.com/news/articles/2021-06-l 1/mudrick-s-amc-bet-backfires-after-meme-
  frenzy-wrecks-hedges
  66 These historical numbers are pre-split and are not adjusted. To compare to post-RS numbers, multiply
  by 10.
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               June 2nd, 2021 Open: $37.52 High: $72.62 Low: $35.59 Close: $62.55


  204. On June 2nd, 2021, Mudrick Capital experienced a 10% decline amidst a surge in AMC's
     stock price, as reported by the Wall Street Journal. Jason Mudrick's fund pri arily incurred
     losses by selling AMC call options at $40 each. As call option prices surged amid frenzied
     trading in AMC stock, it later resulted in millions of losses for the fund. According to the Wall
     Street Journal, Jason Mudrick decided to exit the AMC debt and derivative positions the next
     day during an internal meeting held on the evening of June 1st. The fund managed to achieve
     a 5% retu on the debt, but after factoring in its options trade, it incurred a net loss of
     approximately 5.4% on AMC.



                         AMC s Tradin Volume Durin the Meme Run-up


  205. In 2020, spanning 252 trading days, AMC's average trading volume for the first 67 trading
     days stood at 4,378,700 shares, with an outstanding float of approximately 100 million shares.
     Over the ensuing 185 trading days of 2020, the average trading volume increased to 13,052,410
     shares, coincidin with an increase in the outstanding float to approximately 216 million
     shares.


  206. In 2021, spanning 251 trading days, AMC's average trading volume for the first 9 trading
     days was 41,091,190 shares. During the ensuing 18 trading days, coinciding with the January
     2021 Meme Stock run up, the average trading volume soared to 339,549,030, substantially
     exceeding its outstanding float at that time, signaling exceptionally high trading activity.
     Following this, over the subsequent 224 trading days, the average trading volume decreased to
     99,787,670 shares.


          Date         Open High         Low    Close      Volume       Shares Outstanding
         June 04, 2021 48.79 57.48       46.04 47.91      337,710,100       513,330,240
         June 03,2021 58.10 68.80        37.66 51.34      598,142,200       513,330,240
         June 02, 2021 37.52 72.62       35.59 62.55      766,462,500       501,780,240
         June 01, 2021 31.89 33.53       28.53 32.04      508,694,600       501,780,240
         May 28, 2021 31.81 36.72        24.17 26.12      660,623,600       493,280,240
         May 27,2021 18.61 29.76         18.31 26.52      705,545,700       493,280,240
         Jan. 29, 2021    14.31   16.00 11.60   13.26     602,193,300       450,156,186
         Jan. 28,2021  11.98 16.50 6.51          8.63     591,223,900       405,733,326
         Jan. 27, 2021 20.34 20.36 11.01        19.90   1,222,342,500       405,733,326 67
         Jan. 26,2021     5.09    5.19   4.37   4.96     456,850,200        342,433,326


  67 https://www.businesswire.com/news/home/20210127005752/en/AMC-Completes-At-the-Market-
  Equity-Program
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  207. On June 2nd, 2021, there were 501,780,240 AMC shares of common stock issued and
      outstanding.68


  208. On June 3rd, 2021, sometime between 6:00 am EST and 7:17 am EST, AMC announced
      that they entered into an equity distribution agreement with B. Riley Securities, Inc. and
      Citigroup Global Markets Inc. as underwriters to sell up to 11,550,000 shares of Class A
      common stock, from time to time, through an ATM offering program.


  209. In their SEC filing, AMC updated the risk factor section, in the supplemental prospectus,
      cautioning about AMC s market price, trading volume and extreme volatility which could
      cause purchasers to incur substantial losses. AMC said in part,


          We believe that the recent volatility and our current market prices reflect
         market and trading dynamics unrelated to our underlying business, or macro
         or industry fundamentals, and we do not know how long these dynamics will
         last 69


  210. Somehow, even with AMC s updated risk factor section pointing to red flags ,
      approximately three hours later, AMC announced it completed the share offering, raising $587
      million by selling 11,550,000 shares at an average price of approximately $50.85 per share.


  211. The question arises: where did these 11.5 million shares come from, considering that
     according to Aron, only 43 million shares were left on April 14th, 2021, and they were all sold
     by May 13th, 2021?

  212. On June 3rd, 2021, AMC filed a preliminary proxy statement with the SEC, revealing the
     intent to seek approval for a modified version of the Rejected Proposal, this time contemplating
     a smaller increase in the number of Common Stock shares authorized by the Certificate by
     25,000,000 shares to a total of 549,173,073 shares, effective January 1st, 2022. The AMC
     Board told stockholders that AMC was running out of Common Stock shares: As of the close
     of business on June 2nd, 2021, the latest practicable date before the filing of this proxy
     statement, there were 501,780,240 shares of [AMC] Common Stock issued and outstanding
     and 10,796,709 shares of Common Stock reserved for issuance under the EIP. 70




  68 https://www.sec.gov/Archives/edgai7data/1411579/000104746921001164/a2243278zprer 14a.htm
  69 https://www.sec.gov/Archives/edgar/data/1411579/000110465921076091/tm2118373d2_8k.htm
  70 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 72
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  213. On June 3rd, 2021, AMC only had 46,124 remaining shares of Class A Common stock
      available for issuance.


  214. That evening, Aron gave another interview with Trey, aiming to clarify the source of the
      20 million shares just recently sold, including the 8.5 million shares sold to Mudrick Capital,
      and the 11.5 million ATM initiated that mo ing. Five minutes into the interview Trey asks,


           Trey: Now, this has just raised some concerns for a lot of the investors. Now, the
         first interview here, we talked about how AMC had 46-ish thousand shares total
         remaining after they'd issued those 43 million shares offering into the market, and
         raise a great sum of cash. So there's a sentiment right now, passing along with the
         retail investor group, the apes, that they feel a little bit betrayed. They feel like the
         management was hiding something that was behind closed doors and we just didn't
         get to see it. Now, there's probably some sort of explanation for this, and I'd love
         to hear what you have to say, but where'd these shares come from for this 11.5
         million shares that you sold into the market for Mudrick Capital for those 8.5
         million shares? And are there any shares remaining that we should expect for the
         future so that we can make better investment decisions for ourselves?


         Aron: Sure thing, and Trey, that's one of the reasons I came on with you today is
         to make sure that we get the straight scoop out in front of all of the people who are
         shareholders of our company. Back when we said that we had 43 million shares
         available for sale, you will also recall that it was before the May 4 shareholder
         meeting that was postponed. One of the items that was up for shareholder vote at
         the May 4 meeting was to put 20 million AMC shares into what's called the
         Management Equity Incentive Plan. Those shares would be essentially given to the
         management of the company, and given, I might add, for free to the management
         of the company.


         Trey: Right.

         Aron: The management team of the company cares so much about the company
         that we decided that rather than us taking those 20 million shares and those 20
         million shares working for the benefit of officers of AMC, that we ought to use
         those shares a different way. We ought to use those shares to strengthen the
         company, the company that all of your followers are invested in. And so if you
         look at a press release that we put out just about an hour ago with a new proxy for
         the new July 29 shareholder meeting, you will see that there are zero shares being
         allocated to the management of the company. Those 20 million shares that were


  SEC Filing Link:
  https://www.sec.gov/Archives/edgar/data/1411579/000104746921001164/a2243278zprer 14a.htm
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                                    1626



          going to go into my pocket and the pockets of other managers and executives of the
          company, we decided instead that they should be used for the company's benefit,
          not for our personal benefit. If you look at the proxy that went out a few minutes
          ago, we are not making any requests of the shareholders to put any shares in the
          Management Equity Incentive Plan. That, essentially, those 20 million shares that
          were going to go to us, personally, for our own money, but that freed those 20
          million shares up, and we sold those 20 million shares, eight and a half million
          earlier over the last week to Mudrick and, eleven and a half million today. Between
          those two transactions, we raised over $800 million of cash, not to line my pocket
          or anybody who works at AMC, but to put that money in the treasury of AMC to
          strengthen AMC, let AMC do more good things to grow our company. That's where
          the 20 million shares came from. We all know what we did with them. We put them
          into the market. We brought in over $800 million doing so, and that makes AMC a
          much stronger company, much easier for us to grow going forward. I think that's in
          the best interest of our shareholders. 71


  215. Additionally, during the interview Aron persisted in his efforts to persuade retail investors
      to approve a charter amendment that would increase the authorized number of shares of
      common stock AMC could issue.


                I want to make sure everybody knows that we can t do any more shares
               unless the shareholders approve. And that s just it, those are straight facts.
               And I’m going to make the case, probably later in this call in response to
               one of your questions, that the shareholders should authorize more shares,
               because this could be a very valuable tool to build this company going
               forward and grow this company going forward. 72

  216. During that same interview, Aron also addressed stockholder conce s about a potential
      stock split:


                Beyond that, I guess the only other thing to say about the share count
               issue is: somebody out there in the world of Reddit and Twitter was trying
              to speculate that AMC was either going to split our stock or do a reverse
               split of our stock. And they were breathlessly reporting this, as if they
              knew this to be true. Well, guess what, I can tell you that I’ve never given

  71 Adam Aron Interview - Pt. 2. Youtube Video Hosted by Trey’s Trades (Trey Collins). June 3rd, 2021.
  Link: https://www.youtube.com/watch?v=Z-EkPZMIAeM
  Link to Transcript Filed with SEC:
  httpsV/www.sec.gov/Archives/edgar/data/l 411579/000110465921077117/tm2117897d7_defa 14a.htm
  72 Adam Aron Interview - Pt. 2. Youtube Video Hosted by Trey’s Trades (Trey Collins). June 3rd, 2021.
  Link: https://www.youtube.com/watch?v=Z-El<PZMIAeM
  Link to Transcript Filed with SEC:
  https://www.sec.gov/Archives/edgar/data/1411579/000110465921077117/tm2117897d7_defal4a.htm
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              any serious thought to splitting our stock or a reverse split of our stock.
              That s point number one. Point number two, we have absolutely no plans
              to split our stock or do a reverse split of our stock. You want to hear your
              point number three? We can t split our stock or do a reverse split of our
              stock without shareholder approval. So if we wanted to do that, and we
              don’t, but if we wanted to do that, we would have to go out to the
              shareholders for a vote. 73



  217. Also during the interview, Aron declared that he hasn't sold a single share of AMC in the
      five and a half years since becoming the CEO. Additionally, Aron expressed no conce s
      about the company's debt.


          Aron: Remember this, I am an AMC shareholder. I've run AMC now for five and
          a half years. Other than when I gifted some shares to my two adult sons, I have not
          sold one AMC share in five and a half years, and I have no current intentions
          to sell AMC shares at the moment. I'm a believer. I believe that we can grow our
          company, strengthen our company, build our company. And that's what our entire
          management team is focused on. And again, disconnecting this from the share price
          of the moment, over the long-term my job is to build a stronger AMC, and that's
          what I'm committed to doing.


  218. Finally, during the June 3rd, 2021 interview, it appears that Aron lost his pants. As Aron
      lost control of his web camera, the screen briefly flashes below his light blue shirt and red tie
      to reveal either a really short pair of short shorts, or a skin-colored pair of pants, or no pants at
      all. Aron recovered the camera and continued his hour-long interview about the company and,
      among other things... naked shorts.


  219. On June 9th, 2021, at 4:25 pm EST, Aron tweeted out to AMC stockholders, giving them
      notice that,


              As of June 2, AMC had 501,780,240 total outstanding shares. AMC s
             number of shareholders in the U.S. and abroad has increased to about
             4.1 million, and you own more than 80% of AMC. While some own more




  73 Adam Aron Interview - Pt. 2. Youtube Video Hosted by Trey’s Trades (Trey Collins). June 3rd, 2021.
  Link: https://www.youtube.com/watch?v=Z-EkPZMIAeM
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               and some own less, the average stockholding for AMC is about 120
               shares. 74,75



  220. Aron's representation on June 9th, 2021, asserting an increase in AMC's number of
      stockholders in the U.S. and abroad has increased to about 4.1 million and the average stock
      holding is approximately 120 shares, has not been substantiated or supported with evidence at
      any point.


  221. On June 23rd, 2021, Aron continued his quest to convince shareholders to approve the
      Second Charter Amendment Proposal on Twitter:


                   Some of you fear dilution, but may be neglecting that equity raising is a
                 powerful tool to strengthen a company and help shareholders. AMC said
                 5 times in Jan, May and June 2021 that we diluted shares, but as a result
                 raised $2.5 billion. AMC is so much stronger because we did. AMC s
                 Board and Management believe you should VOTE YES to authorize 25
                 million new shares. Remember, they cannot be issued before January of
                 2022, more than six months from now. See our Proxy materials for more
                 complete information and essential disclaimers.


  222. On June 30th, 2021, there were 513,330,240 AMC shares of common stock issued and
      outstanding.74 75 76


  223. Aron s efforts to get retail investors to support his proposals failed. On July 6th, 2021, AMC
      announced that it would no longer seek stockholder approval of the Second Charter
      Amendment Proposal and withdrew it from the agenda for the 2021 Annual Meeting before
      final votes were tallied or confirmed (so it is not confirmed whether or not stockholders would
      have supported the 25 million share authorization). Aron thereafter issued a series of tweets on
      the withdrawal:


                  It’s no secret I think shareholders should authorize 25 million more AMC
                 shares. But what YOU think is important to us. Many yes, many no. AMC
                 does not want to proceed with such a split. So, we’re canceling the July
                 vote on more shares. And no more such requests in 2021. Of course, voting


  74 CEO Adam Aron on X (formerly called twitter). June 9th, 2021. X.com
    Link: https://twitter.com/CEOAdam/status/1402723600398946306
  75 This statement made by CEO Aron was also posted on AMC s website. Reference: AMC
  Entertainment Holdings, Inc. Announces Shareholder Count. Press Release. June 9, 2021. Link:
  https://investor.amctheatres.com/newsroom/news-details/2021/AMC-Entertainment-Holdings-Inc.-
  Announces-Shareholder-Count/default.aspx
  76 AMC s 10Q reported on August 9th, 2021
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                                    1629



                on the other 4 issues requiring approval at the July 29 annual AMC
                shareholder meeting will continue on schedule. But proposal 1 is hereby
                officially tabled. There will be no voting before 2022 on more shares. 77


  224. While retail stockholders did not want AMC to issue new shares into the market, they were
      more than open and positive about helping AMC with its cash and debt issues. In a remarkable
      display of support, stockholders encouraged each other via social media to visit AMC movie
      theaters and continue spending their money on movie tickets, concessions, and other offerings.
      They even went beyond that by making merchandise offers directly to the AMC Board and
      eagerly purchased as much merchandise as they could when such opportunities were presented
      by AMC.

  225. Furthermore, retail stockholders came up with innovative ideas to aid AMC's financial
      situation. One notable suggestion was the potential sale of non-fungible tokens ( NFTs ) by
      AMC to raise additional funds. Although AMC utilized this suggestion to connect with ticket
      sales, it was not emplo ed to boost revenue.


  226. Putting aside AMC Board s preference to use new equity issuances to affect the Company s
      balance sheet, Aron and other senior executives had another reason to increase the authorized
      share float: executive compensation plans.


  227. Despite AMC’s struggles during the pandemic, Aron was a richly compensated CEO,
      receiving $9,671,799 in pay for 2019, $20,926,785 for 2020 - an increase of astounding 116%
      , and $18,909,546 for 2021. Notably, about 66% of Aron’s compensation package until then
      came in the form of equity grants consisting of or backed by common stock. The excessive
      executive compensation, inequitable enrichment amidst the worst financial decline in the
      company’s 100-year history, as well as the absurd executive compensation structure, and an
      astounding discrepancy in CEO compensation compared to other businesses expose present
      fiduciary transgressions, constituting a betrayal of the very principles upon which stockholder
      trust is built.




  77 CEO Adam Aron on X (formerly called twitter). July 6, 2021. X.com
    Link: https://twitter.com/CEOAdam/status/1412376829688680453
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                                    YEARLY S L RY OF DAM M ARON, CEO OF AMC ENFERT NMENT INC
                                    Year
                                    over
                                    Yea       Bonus + Non¬
                                    (YOY)     Equity          YOY                         YOY                       YOY                       YOY
                                    change in Incentive       chan e    Stock Award       change                    change   Total            change in
      Year       Base Pay           %         Comp            in %      Value             in %     Total Other      in %     compensation     %
             2022 s     1.500.000          3% $6,000,000,00          0% S 16.194.055,0042% $            22.106,00         3% $23,716,161,00       25%
             2021 s   1.451.923,00       31% §6.000.000,00     20% $ 11.436.117,00    -23% S            21.506,00       1% $ 18,909,5 6,00        -10
             2020 $   1.106.491,00     -11% $5,000,000,00     160% $ 14.798.988,00    128% $            21.306,00      30% $20,926,785,00         116%
             2019 s   1.250.000,00       14% $1,925,000,00    -33% $ 6.480.451,00      18% $            16.348,00       1% $ 9.671.799,00          2%
             2018 s   1.100.000,00        0% $2,882,000.00    297% $ 5.472.05 ,00      -2% $            16.148,00       1% $ 9.470.202,00         27%
             2017 s   1.100.000,00       11% $ 726.000.00     -87% $ 5.605.208,00      31% S            15.948,00       4% $ 7.447.156,00         -32%
             2016 $     991.200,00 baseline  $5,644,250,00 baseline S 4.281.202,00 baseline $           15.352,00 baseline    $10,932,004,00 baseline




  228. That the executives being richly rewarded while AMC was grappling with the challenges
     posed by COVID-19 did not escape the notice of the stockholders, and understandably, they
     were not pleased


  229. On July 21st, 2021, AMC named Aron as chairman taking on the new responsibilities in
     the wake of the resignation of Wanda executives Lin Zhang and Mao Jun (John) Zeng. With
     Aron serving as both chairman and CEO, AMC named Philip Lader the company s lead
     independent director.


  230. Following the 2021 Annual Meeting, on July 30th, 2021, Aron once ag in acknowledged
     that AMC s stockholders did not want to increase the number of authorized shares of common
     stock that AMC could issue:


              Thanks to all who voted at our shareholder meeting yesterday. Your voice
             is important and your enthusiasm appreciated. All resolutions were
             approved. As indicated previously, we rescinded the request to authorize
             more shares. You were not ready for this, and we listened to you. 78


  231. On July 31st, 2021, at 10:48 pm EST, Aron tweeted out important information to AMC
     stockholders. In the tweet, Aron announced that AMC plans to utilize Say Technologies
     software during its next quarterly ea ings call.


         “August 9 is our next quarterly ea ings call. Will be webcast so you can listen. For the
         first time ever, we will take questions from individu l investors on the call. Here’s the link:




  78 CEO Adam Aron on X (formerly called twitter). Jul 30th, 2021. X.com
    Link: https://twitter.com/CEOAdam/status/1421129757526274050
Case 4:23-cv-00732-ALM-KPJ Document 104-1 Filed 08/23/24 Page 52 of 86 PageID #:
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          https://app.saytechnologies.com/amc-2021-q2/ Really smart questions in so far, and
          fascincinating (sic) suggestions too. 79


  232. On August 9th, 2021, AMC conducted its Q2 2021 Earnings Q&A call. During this event,
      AMC had a total of 513,330,240 authorized outstanding shares.80


  233. In the lead-up to that call, Say Technologies provided an avenue for individual AMC
      stockholders to submit questions to Aron via their website. Through this platform, stockholders
      could log the shares of AMC they owned by validating their brokerage account number and
      the quantity of AMC shares they held with Say Technologies' website.


  234. Once verified, users on the Say Technologies website received a digital certificate
      specifying the number of shares they owned. With this certificate, stockholders gained access
      to a platform where they could submit questions or vote on potential questions for the AMC
      Q2 2021 Earnings Q&A call.

  235. The S y Technologies website publicly displayed the number of investors registered for
      the August 9th, 2021 call, as well as the total number of shares represented on the site. A total
      of 70,300 participants, which accounted for approximately 1.76% of the 4 million
      stockholders, signed up on the site. In addition, 71.6 million shares, constituting around
      13.95% of the total float, were represented for the call. According to the Say Technologies
      data, each participating investor owned approximately 1,018 shares on average.


  236. The contrast between the actual average shareholding revealed by the Say Technologies
      vote and the average shareholding announced by Aron on June 9th, 2021, is indeed striking.
      According to the Say Technologies data, each participating investor owned approximately
      1,018 shares on average. This figure stands in stark contrast to Aron s June 2021 statement of
      120 shares per investor (total of 4.1 million) representation, a difference of roughly 8.5 times.


  237. The vote conducted by Say Technologies with 70,300 participants far exceeds the typical
      sample sizes targeted in many studies, which generally aim for a range of 500 to 2,000
      participants.81 With such a large sample size, the results of the vote provide substantial
      evidence that AMC stock has been overshorted on the market, exceeding the actual share float
      multiple times over.


  79 CEO Adam Aron on X (formerly called twitter). Jul 31th, 2021. X.com Link:
  https://twitter.com CEOAdam/status/1421664076804022275
  80 https://investor.amctheatres.com/sec-filings/all-sec-filings/content/0001558370-21-011004/amc-
  20210630xl0q.htm
  81 Determining Sample Size: How Many Survey Participants Do You Need? Cloud Research. 2015-
  2023. Link: https://www.cloudresearch.com/resources/guides/statistical-significance/determine-sample-
  size/
Case 4:23-cv-00732-ALM-KPJ Document 104-1 Filed 08/23/24 Page 53 of 86 PageID #:
                                    1632




  238. Two months after stating to AMC stockholders, "I have no current intentions to sell AMC
      shares at the moment. I'm a believer," during the August 9th, 2021 AMC earnings call, Aron
      made the following statement:


            At the same time as I am emphasizing share ownership, I'd like to remind you that
          I have not sold one share of AMC stock in the five full years I've been running this
          company even though it represents more than three-fifths of my annual when I
          say it, when stock represents more than three-fifths of my total annual
          compensation. Other than gifting a small percentage of my AMC ownership stake
          to my two adult children earlier this year, I also did not sell any AMC shares in
          March when I could have. I did not sell any AMC shares in June when I could have
          in 2021. I similarly will commit that I do not intend to sell any AMC shares in
          September of 2021 when I'm legally permitted to do so. But as much as this pains
          me to admit, in September, I'll be celebrating my 67th birthday. I'm going to be a
          young, vibrant 67, but hey, it's 67 nonetheless. Two months ago, more than 85% of
          my net worth was in AMC stock, and proper estate planning for a 67 year old
          suggests I should diversify my assets a bit. But I don't want any of you ever to think
          that I have anything but full confidence in AMC's future. So I will do so under the
          auspices of the parameters of what is called a 10b5-1 plan, where I pass off all the
          share trading control of the shares that I own or I'm granted to an independent third-
          party bank based on parameters of the plan that I only partially set. The plan would
          not go into effect until toward year end at the earliest, and only a small percentage
          of my owned or granted shares could get sold in any one month. And that would
          then be repeated over a period of at least several months. This way, I really have
          passed on the decision-making to someone else on this important topic.
          Additionally, whatever is sold or not sold by an independent third party, I still will
          have millions of AMC shares that either are owned by me personally or have been
          previously granted to me personally. My economic incentives are very much
          aligned with yours: to increase shareholder value for all the owners of AMC. What's
          more, I so fully believe in transparency that I'm letting you all know this well in
          advance even though current U.S. law does not require me to make this or even any
          public disclosure now at this time or at any time soon prior to any shares actually
          being sold. 82

  239. Following the AMC earnings call and despite the evidence from the Say Technologies
      website, Aron and the AMC Board did not take any immediate action to initiate an
      investigation into the actual amount of AMC shares out in circulation.




  82 https://www.fool.coin/earnings/call-transcripts/2021/08/10/amc-entertainmen.t-holdings-ainc-q2-2021-
  eamings-ca/
Case 4:23-cv-00732-ALM-KPJ Document 104-1 Filed 08/23/24 Page 54 of 86 PageID #:
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  240. After the earning call at 6:55 pm EST, Aron tweeted out the following message to AMC
      stockholders,


              Thanks to money raised in May and June, AMC ended the June 30, 2021
             quarter with MORE THAN $2 BILLION OF LIQUIDITY (cash in the bank
             or undrawn revolving credit line). Right around DOUBLE the highest quarter
             ending liquidity level AMC has ever had before in our 101 year history! 83

  241. Subsequent to the August 9th, 2021 earnings call, numerous AMC stockholders took to
      public platforms to express their intention to sign up for the Say Technologies platform. Their
      objective was to log their shares and participate in determining the true number of AMC shares
      in circulation.


  242. Oddly, the following day, on August 10th, 2021, Robinhood made a significant move by
      acquiring Say Technologies in a $140 million all-cash deal. This acquisition marks a
      significant move for Robinhood, particularly as it comes shortly after the company's public
      listing on July 29th, 2021.84


  243. On August 11th, 2021, Trey conducted his third interview with Aron.85 Approximately 10
      minutes into the interview, Trey recaps the August 9th, 2021 earnings call and the use of Say
      Technologies and asks Aron about Robinhood purchasing Say Technologies the day after the
      ea ings call. In response, Aron stated,


           I never heard of Say Technologies, 60 or 75 days ago. Someone explained to us
         their capabilities and we would be able to take questions from individual
         shareholders on our ea ings call. And that sounded like a great idea to us. We ve
         certainly never done it before. I don t know any other company, well I guess maybe
         they have other customers, so maybe somebody has done it before. But I certainly
         haven’t heard about companies taking questions from individual investors. But you
         know, there is a difference between AMC and all these other companies - as I
         have said over and over again since April. The individual investor now owns
         AMC. You know it s ore than 80% of our shareholder base. As 80% of our
         shares are owned by millions of our investors. So of course we should take
         questions from our investors and Say Technologies has an interesting feature - you
         know - upvoting questions - so we could see how many interest there was in each
         question. We actually asked...My CFO asked on your behalf, Sean read the

  83 CEO Adam Aron on X (formerly called twitter). August 9th, 2021. X.com
    Link: https://twitter.com/CEOAdam/status/1424866943232888838
  84 https://newsroom.aboutrobinhood.com/say-technologies-is-joining-robinhood/
  85 The Rise of AMC - Adam Aron Interview Ep. Ill - YouTube Video by Trey’s Trades. August 11,
  2021. Link: https://www.youtube.com/watch?v=z97Kw-809IM
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         questions.. .We read every single one of a dozen most popular questions that were
         on the minds of our shareholders who participated in this thing. So that is why we
         did it. We did it because individual investors own AMC now and in a public forum
         like that - we all thought it was a great idea to be able to talk directly to our
         individual investors and hear from our individual investors. I m going to come back
         to the second half of your question in a second - but it is really important for us to
         have a dialogue with the company s owners. You know that in addition to this
         questions we took on the earnings call this last Monday, in late June, we announced
         AMC Investor Connect....My tweets have been read over 70 million times. I am
         following about 2,000 people, most of whom are investors in AMC No one is
         writing those tweets for me, I’m writing them myself... [around the 20 minute
         mark]...Now the second part of your question was what do I think about Robinhood
         and its announcement that they are buying Say Technologies. We honestly had no
         knowledge of that until it was announced. Was it Tuesday that they announced it?
         I will say we were quite shocked to have learned of that. If you had asked until the
         Robinhood announcement, what I had thought of the Say Technologies
         experiment.. .1 would say it was great, it was wonderful that we got questions from
         our shareholders, that there was a way to determine which questions had the most
         interest amongst our shareholders and that we could answer them, but so that we
         could verify that those were real shareholders asking the questions - there was some
         disclosure that you had to...who your brokerage firm was and how many shares
         you owned. Honestly, I just don t think it was appropriate for us to ask our
         shareholders to tell Robinhood what brokerage firm they are doin business
         with and how many shares they owned. So unless we can get some absolute
         ironclad assurance that there is some enormous wall between the information
         that Say Technologies gets and what Robinhood gets - I can t see us doing it
         again. I can see us answering questions from our shareholders again, but I
         can’t see us using the Say Technologies platform if there is any fear that it will
         be compromised. 86


  244. On September 8th, 2021, AMC announced the launch of its first-ever $25 million multi¬
     media ad campaign titled AMC Theatres. We Make Movies Better . This extravagant global
     advertising crusade aimed at enticing patrons and emphasizing the irreplaceable allure of
     theatrical experiences worldwide. Anchored by a television spot featuring Academy Award
     laureate Nicole Kidman, helmed by two-time Oscar nominee Jeff Cronenweth and Tim
     Cronenweth, and scripted by Academy Award-nominated wordsmith Billy Ray, the campaign
     sought to imprint the communal, multi-sensory essence that is unique to the cinematic realm.



  86 The Rise of AMC - Adam Aron Interview Ep. Ill - Youtube Video by Trey’s Trades. August 11, 2021.
  Link: https://www.youtube.com/watch?v=z97Kw-809IM
Case 4:23-cv-00732-ALM-KPJ Document 104-1 Filed 08/23/24 Page 56 of 86 PageID #:
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  245. Yet, against the backdrop of a world still grappling with the COVID-19 scourge, this
      endeavor was met with a resounding chorus of disapproval. Many, taking to Twitter, voiced
     their discontent, branding the campaign as strikingly out of touch. The public's ire centered on
      its fantastical portrayal of theaters and its glaring omission of any substantive plan to address
      crucial issues like social distancing. @heatherfink aptly quipped, "You spent 25 million &
      chose not to address the Covid concern keeping people home."87


  246. On September 9th, 2021, Aron sat down with CNBC s Melissa Lee to discuss the Ape
      movement and what the future holds for the movie theater chain. Eleven minutes and twelve
      seconds into the interview Melissa Lee asked Aron, Did the retail investors save AMC?


           Adam Aron: “Initially the retail investors did not save AMC because we had
           saved AMC first by raising a lot of money. We raised many billions of dollars,
           three or four by January 25 of 2021, and that's what initially saved AMC.
           But then the retail investors arrived in huge numbers, and yes, they saved AMC.
           And that's when they saved AMC because, after we raised all the money that got
           us throu h the initial bankruptcy threat, we had some real money in the
           bank. But that was January of 2021, and I'm filming this in September of 2021.
           We're still dealing with this pandemic, and because of the retail investors,
           we raised another $1.25 billion in May and June of 2021. And that last billion
           dollars is what really will, I think, will guarantee that we survive this
           pandemic, with the reality, of course, that there are no guarantees in life and no
           one really has a crystal ball. So I assume that the country and the world, because
           of vaccination, will make great progress as we look at 2022, 2023, and 2024, but
           of course, nothing is certain. But that last billion and a quarter that we raised,
           that more than doubled the cash that we had available to us. That allowed us to
           finish the second quarter of 2021, with $2 billion of cash in the bank or undrawn
           revolving credit line. It turns out that $2 billion figure is more money than AMC
           has had a quarter end in the entire 101 year history"


  247. Fifty-one minutes into the interview, Melissa Lee asked Aron directly, “doing a reverse
     stock split and then issuing more shares, if that is on the table ,


             Adam Aron: “That s not on the table. And my understanding the law is if
             we did a reverse stock split that would also contract the number of shares we
             are allowed to issue. So it s not like if you did a reverse stock split, all of a
             sudden, you’d have hundreds of millions of shares you could sell. But given


  87 McGuire, Keegan. Nicole Kidman's $25 Million AMC Commercial Has The Internet Furious .
  Looper. Sept. 8th, 2021, Link: https://www.looper.com/598876/nicole-kidmans-25-million-amc-
  commercial-has-the-internet-furious/
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             where our stock is trading at the moment, I don t think a reverse stock split
             would make sense under any circumstances. 88


  248. At the time of Melissa Lee's interview, AMC had only 46,124 Common A shares available
      for sale. However, Melissa Lee's question focused on the possibility of AMC doing a reverse
      split, which at the time would not have increased the number of shares available; rather, it
      would have reduced the remaining shares available for potential sale. The only way AMC
      could sell more shares post a reverse split would be if they introduced a new share structure
      (such as APE which was introduced to shareholders in August 2022, but had not been
      mentioned at this time). Given that AMC's stock was trading between $30 and $50 in
      September 2021, concerns about delisting would not have been a valid reason for considering
      a reverse split at that time. The timing of Melissa Lee's mention of a reverse split does seem
      suspicious. It's notable that this isn't the first instance of Aron discussing a reverse split in
      interviews, as he previously mentioned it during an interview with Trey. This repeated mention
      is curious, especially considering the lack of a logical rationale for implementing a reverse split
      at this time, given AMC's stock performance.


  249. Melissa Lee s Interview with Aron was posted to CNBC’s YouTube page on December
      10th, 2021. The delayed publication of the standard interview between Melissa Lee and Aron,
      three months after its occurrence, is indeed unusual. Typically, interviews are posted promptly
      after they take place, especially if they're not broadcasted live.



                          Project Popcorn Memorialized - November 2021


  250. Having failed twice to secure approval to increase AMC’s authorized shares, Aron and the
     AMC Board ensured that it would not strike out, regardless of what its stockholders wanted.
     Instead of valuing and listening to the concerns and wishes of the common stockholders
     regarding equity dilution, Aron and the AMC Board began to work with the Project Popcorn
     Defendants, on a novel 89, but ultimately a nefarious scheme to circumvent the wishes of the
     very investors to whom they owed a duty of loyalty to dramatically reduce the voting influence
     of the company’s existing stockholders so that it could force through the sought-after increase
     in the authorized share float.


  251. As 2021 drew to a close, AMC remained unable to raise capital by selling AMC common
     shares, while the company’s debt issues persisted. Despite having $1,592 billion in cash and



  88 Source: CNBC Interview Melissa Lee with Adam Aron. Interview held in September 2021. Video
  Posted on December 10th, 2021. Link: https.7/www.youtube.com/watch?v=P5p85xl3_KM&t=3132s
  89 Novel as it was never implemented on the NYSE but was implemented on Nasdaq - See below Jon
  Merriman’s May 27lh, 2022 email
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     cash equivalents as of December 31st, 2021, Aron continuously refused to entertain offers from
     AMC stockholders, who were willing to donate money (or support new business ventures) to
     address the debt, opting against dilution.


           AMC
           ENTER¬                                               C sh and cash Corporate
                         Net                Total
           TAINMENT
           INC
           2022           $-973,600,000      $3,911,400,000       631,500,000     $5,1 0,800,000
           2021           $-1,269,800,000    $2,527,900,000      $1,592,500,000   $5,428,000,000
           2020           $-4,589,400,000    $1,242,400,000      $308,300,000     $5,715,800,000
           2019           $-149,100,000      $5,471,000,000      $265,000,000     $4,753,400,000
           2018           $110,100,000       $5,460,800,000      $313,300,000     $4,723,000,000
           2017           $-487,200,000      $5,079,200,000      $310,000,000     $4,235,300,000
           2016           $111,667,000       $3,235,900,000      $207,100,000     $3,761,000,000
           2015           $103,856,000       $2,946,900,000      $211,250,000     $1,934,561,000
           Total
           Performance    S-7.247.333.000    S26.928.600.000




  252. Sometime before November 2021, Derek Van Zandt began work on the scheme of the
     century - Project Popco     .


  253. Project Popcorn was initially conceived and presented to the AMC Board as a shareholder
     rights offering through a “preferred share structure .


  254. A rights offering allows AMC to offer the prefen'ed share structure to onl existing
     shareholders. By exercising their rights in full, each AMC common stockholder can retain
     their proportionate ownership (i.e. avoid dilution) while the company raises money.


  255. During the month of November 2021, while Project Popcorn was being implemented,
     AMC's daily trading range varied between a high of $45.95 and a low of $35.39, while the
     market capitalization fluctuated within the range of $23.7 billion to $17.75 billion.

  256. In November 2021, Derek VanZandt and his team at Citigroup Global Markets Inc. created
     a PowerPoint presentation titled - Project Popcorn: Follow-Up Items . One of the slides in
     the presentation included fourteen questions. 90 Some key questions that stand out are:




  90 Link: https://www.docketalann.com/cases/Delaware_State Court _of_Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER,LITIGATION/918026
  42/ Exhibit 36 pages 918-919
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                  • What will be the UoP (use of proceeds) and narrative for
                      investors on why AMC is accessing the markets now? 91
                  • How will index funds manage their rights?
                  • Any issues with foreign shareholders?


  257. Derek Van Zandt's inquiry into what will be the narrative that the AMC Board will present
      to investors regarding why AMC is accessing the markets now, especially considering that
      AMC had over $1.6 billion in cash reserves at the time, raises suspicion. Why doesn't AMC s
      own banker not know what the use of proceeds will be? Why is AMC and its banker even
      contemplating a narrative instead of disclosing the truth? The real reason is that Project
      Popcorn was being launched, and they needed to ensure their story was consistent in case they
      were questioned by investors.


  258. On November 10th, 2021, at 4:31 pm EST, Aron tweeted out the following message to
      AMC shareholders,


             “62.5% of my annual pay is AMC stock, not cash. I hadn t sold even 1
             AMC share in 6 years. I publicly said months a o and again Monday,
             now at age 67, it s prudent to diversify assets for estate planning. I
             STILL HAVE WELL OVER 2 MILLION OWNED/GRANTED AMC
             SHARES. I believe in AMC. 92



                    Insider Sellin - Months of November 2021 - Januar 2022


  259. A detailed analysis of the volume and timing of AMC insider stock transactions reveals a
      compelling narrative. It becomes apparent that, with the implementation and launch of "Project
      Popco ", designed to flood the market with an unprecedented number of APE units that can
      then convert to AMC common shares, the majority of the AMC Board promptly executed the
      sale of their awarded stock bonuses to front-run Project Popco . This evidence strongly
      suggests that the fiduciaries engaged in stock trading based on non-public insider information,
      directly conflicting with the interests of their shareholders. This serves as a stark indictment of
      the board's apparent lack of dedication to the company's well-being.


  260. The apparent lack of insider purchases in AMC during this crucial period raises significant
      doubts about their commitment to the company's prosperity. The recurrent pattem of insider
      conduct, marked by aggressive selling of personal AMC common shares from November 2021


  91 AMC had approximately 1.6 Billion in cash at the time of the presentation
  92 CEO Adam Aron on X (formerly called twitter). November 10th, 2021. X.com
    Link: https://twitter.coin/CEOAdain/status/1458547884572430337
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     during the launch of Project Popcorn and continuing into March 2022, has resulted in a
     staggering erosion of shareholder value, exceeding an astronomical $1 billion. This ongoing
     trend of insider selling, especially during a strategic initiative like Project Popcorn, poses
     considerable concerns about the alignment of the executive management team with the
     interests of AMC shareholders.


          a. Adam M Aron, CEO, sold 85.9% between November 2021 - January 12,
              2022 (sold 1,250,000 shares keeping only 205,086).
          b. Sean Goodman, CFO, sold 100% on November 12th, 2021. Then received
              a grant and sold all of it by December 9th, 2021.
          c. Elizabeth Frank, EVP, kept only 126 shares by December 29th, 2021. Sold
              361,472 shares by March, 2022.
          d. Stephen Colabero, EVP, sold 100% by March 11th, 2022, starting from
              November 2021.
          e. Kevin Connor, EVP, kept only 1 (one) share by December 29th, 2021. He
              sold 254,513 shares in total.



  261. These revelations underscore the criminal actions of insider trading against their
     shareholders and priorities of the board members, leaving their fiduciary duties and allegiance
     to the company and its shareholders in serious question.




                                                                                                  Type of Insider
                                                                                                 d institutional Holder
                                                                                                 n AMC Executive
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  262. The regulation of insider trading falls under the purview of the SEC, governed by Rule
      1 Ob-5 of the Securities Exchange Act of 1934. This critical rule expressly prohibits individuals
      with access to non-public, material information of a publicly tr ded company from engaging
      in securities trading based on that information. Additionally, it prohibits them from disclosing
      such information to others (non-public) who may then act upon it. The prohibition of insider
      trading is grounded in its potential to erode the f imess and integrity of the securities markets,
      while conferring an unjust advantage to individuals over other investors.


  263. The trading data at hand serves as compelling evidence that the company s fiduciaries were
      actively involved in insider trading, as it aligns with the requisite elements and causation:


           a. Material Non-Public Information: Specifically, the details surrounding
              "Project Popcorn" and the significant dilutive effect on AMC common
               shareholders;
           b. Breach of Fiduciary Duty or Duty of Trust or Confidence: This is manifest
               in the manipulation of a shareholder vote, crucial for necessary charter
               amendments;
           c. Trading: The board members' actions of divesting their own stock have been
               consistently observed since the initiation of "Project Popcorn.";
           d. Intent: The series of deliberate actions taken, coupled with the clear intention
               to maximize their own and their associates' gains, while ultimately leading
               to the dilution of their stockholders' equity, underscores their culpability.



  264. During the period spanning from September 2020 to September 2023, company insiders
      orchestrated the sale of shares amounting to a substantial $919,170,900.93 This transactional
      activity was made possible, and indeed facilitated, by the investment of retail investors who
      entrusted their life savings to the company, diligently purchasing and holding the stock. This
     juxtaposition raises legitimate questions about the alignment of interests and the fiduciary
     responsibility of those entrusted with the management of the company.


        Time period 3 Years Go!


                                  AMC Insider Trading - AMC Entertainment Holdings, Inc.
                                               (c) h tps://www.secform4.com/




  93 Source: https://www.secform4.com/insider-trading/1411579.htm
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  265. It is no coincidence that in comparison of a time span of 10 years, the difference of insider
     sales within 2020-2023 and 2013-2023 is merely $238,356,536.


    Time period 10 Years Go! |


                                 AMC Insider Trading - AMC Entertainment Holdings, Inc.
                                                 (c) https://www.secform4.com/




                             Total buys: $5,352,913 , total sales: $1,157,527,436, net: $-1,152,174,523




  266. It appears that, as early as November 3rd, 2021, the AMC Board may have already been
      deliberating over whether to use preferred stock to force through an increase in the number of
      shares of Common Stock authorized under the Certificate.94 One slide from a presentation to
      the AMC Board provided by Derek Van Zandt:



                     | Pathway to Recovery

                             • Raise additional capital (preferred share structure)
                                  • Repay debt
                                  • Refinance / restructure debt



  267. This slide does admit of an innocuous reading, to wif. a sale of preferred shares in the
      ordinary course. If the AMC Board had been considering a legitimate path forward, it did not
      stick to that path for long.95


  268. On November 23rd, 2021, Marc Cohodes, a renowned short seller, appeared on the Claman
      Countdown a program on Fox Business hosted by Liz Claman, to discuss an idea he came up
     with to offer AMC stockholders.96 Also on the panel that afternoon was frequent guest Charles
      Gasparino.


  94 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 86.
  95 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C. . 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 87.
  96 Interview Marc Cohodes with Liz Claman on Fox Business - Claman Countdown on November 23rd,
  2021, Source: https://www.voutube.com/watch7vMJB-TM-4TH74
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          Liz Claman: We bring in now Marc Cohodes, he is a former short seller
          who's come up with a unique proposal for AMC investors along with Charlie
          Gasparino. Mark welcome, Charlie welcome.


          Charles Gasparino: Uh thanks for having me. Marc, I want to say this I ve
          never received so many comments like don't have this dude on your, on your
          show and I will say this, I hate cancel culture and I think what you're saying
          is an important piece to this AMC puzzle, so I'm just going to hand it to you
          pal, tell me what you're proposing.


          Marc Cohodes: First of all Charlie and Liz thanks for having me on. Um,
          really the, the thing that ticked me off and got me started on this was January
          28th which was when the buy button was pulled for a few stocks out there I
          thought that was unprecedented, I thought it was wrong, I thought it was
          illegal, and a lot of people really got screwed in that moment, individuals, Joe
          six-pack if you will, and my lawyer wrote a letter to the Senate in Congress.
          I was on numerous podcasts saying, this is just absolutely outrageous and it
          really bothered me that people did not focus on how bad these individuals
          were screwed on that day. It was terrible so I sort of let my anger die down a
          little bit and I filmed a movie in, in Portland a couple months ago and the
          Mulligan brothers, who are doing a documentary on this, were telling me the
          stories, these horrific stories of how these people got absolutely destroyed.


          Charles Gasparino: But then, they basically made some money on it too,
          though, didn't they, they did okay?

          Marc Cohodes: Some, some, some people may have made a lot of, people
          lost, lost life-changing money and I was just outraged by this I was just
          sickened by it and I said you know the mainstream media has forgotten these
          people that's...


          Charles Gasparino: And that's why you joined the Ape movement more or
          less is that correct?


          Marc Cohodes: I'm not in any movement, I'm uh I'm             lone wolf, I'm, I
          have me, myself, and me.
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  269. Two minutes and fifty-five seconds into the interview, Liz Claman asked Marc Cohodes
     the following question:


           Liz Claman: What s your proposal Marc?


           Marc Cohodes: Well let me just, let me just finish with this, so this was,
           this was bothering me, so I ve been involved and been an investor in
           Overstock for more than four years and it was controversial when I bought
           Overstock, but it's up 10 times and Overstock owns something called tZERO
           which is an alternative trading system and you can trade something called
           security tokens on that platform. So my proposal was to come with an NET,
           a souped-up NET, which would be a security token. NFTs are popular these
           days and a NET with utility whether it's free popcorn or movie passes or a
           special golden ticket would be dividended out to AMC holders and I think,
           one you would provide value to them, two it would be something else and a
           revolutionary thing for tZERO to trade and I think you would finally and
           finally clean up the mess and the stock loan mess which is known as Wall
           Street.


           Charles Gasparino: Right, right, if there is naked short selling. I just want
           to unpack this a little bit for the, for the viewers in naked shoid selling because
           people would want to get their hands on that NET. Right the shorts would
           have to cover and you would know if they're covering or if they're not
           covering and so it to me that's a fascinating plan. What is, what is Aron, Adam
           Aron say about it, the CEO have you had any contact with him about this?


           Marc Cohodes: So a couple of weekends ago, on my way to Spain, I sent
           Adam Aron some emails, someone, Pachter at Wedbush, who’s a pal of mine,
           introduced me to Adam Aron, and he said here’s his email, here’s his phone
           number, I only sent him I think 5 emails back and forth and he said he’d think
           about it, and then when fire drill, which was last week came, Adam Aron
           sent me an email and said that he wants me to stand down, he doesn’t want
           me contacting him and that’s that. So he doesn’t want to hear from me.


           Charles Gasparino: Does it go away this plan?


            Marc Cohodes: Well, I think the plan could be used for anybody I mean I
           think the plan is, I think the plan is a great plan and I think really the plan's a
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          great idea and the only thing I've taken in the last week is, is abuse personally
          but no one has said anything negative, no one has said anything about the
          plan.


          Charles Gasparino: Well, it's part of, it's part of the game when you're
          involved with AMC.


          Liz Claman: Well it is but, but Marc you know putting forth this kind of
          token is not necessarily illegal but securities l ws require that you actually
          have a legitimate business pur ose for it and you've created this record
          whether it's on Twitter or these podcasts that your business effort is to kill the
          short sellers that's not a legitimate business focus to launch something like
          this so aren't you opening up AMC to litigation if you were to pursue this?


          Marc Cohodes: Well, first of all Liz, what you're saying is 100 percent false.
          I've never, I've never said that and I never said it was something to squeeze
          the shorts, I mean I'm a short seller at heart and, and I know the heavy price
          those people pay, especially when you do it legitimately when you do it non-
          legitimately and you play around and, and market makers short on downticks
          and blow the SSR rule you have a problem. My, my main thing with the STO
          is there's an economic interest involved. I mean hell today Macy s said they
          want to, they want to NFT balloons from the parade.


          Charles Gasparino: Yeah everybody is doing it. I agree with you and I think
          what you said was a secondary outcome could be this sort of short squeeze,
          the primary outcome is to create value but I need to ask you one quick
          question before they give me the wrap here. Amid all this stuff and you've
          immersed yourself in AMC, you're obviously a shareholder in it as well right
          now. Do you really think that there's market manipulation that Citadel
          securities is you know doing stuff to screw with the company. As an
          investigative reporter, I want to believe that because, I want to break that
          story. I can find no evidence it doesn't, it doesn't make any sense.


          Marc Cohodes: Charlie I, I have a lot of evidence, I’ve had a lot of people
          come to me in the past nine months. I think payment for order flow should be
          illegal, it’s illegal in Canada, Australia, the UK and Citadel is a crafty outfit.
          They're five times smarter than Goldman ever was and they're and these guys
          are, are rascals.
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             Charles Gasparino: Well everybody I think said Wall Street's a rascal
             though that's...


  270. On December 9th, 2021, at 6:20 am EST, Aron tweeted out the following message to AMC
      shareholders,


                 NFTs are a su erb idea. But not a 1 per share security token NFT
                dividend, as repeatedly described on Twitter. It is likely illegal,
                breaches our debt covenants and/or exposes AMC to hu e
                litigation risk. We can t do it. Beware of concepts that sound easy
                and too good to be true. 97


  271. To provide context, AMC stockholders had reached out to Aron multiple times about
      issuing an NFT dividend (blockchain) as a way to reveal the number of AMC shares in
      circulation, including authorized shares and naked shorts/synthetics, and to enhance
      stockholder value. This approach, popularized by Patrick Byrne, former CEO of
      Overstock.com ( OSTK ), involved issuing a blockchain dividend that would compel short
      sellers to buy and deliver shares to stockholders, thereby triggering a surge in OSTK s stock
      price during 2019-2020. However, short sellers subsequently filed a lawsuit against Patrick
      Byrne and OSTK over the issuance of a digital security. In 2020, U.S. District Judge Dale A.
      Kimball dismissed the federal class action lawsuit with prejudice. Despite this decision, the
      plaintiff appealed to the 10th Circuit Court, and the case is awaiting the Circuit Court's decision.
      Aron's refusal to consider the idea, citing the illegality of an NFT blockchain dividend, is being
      challenged based on historical precedent set by the Overstock case. This challenge suggests
     that Aron may have misled investors without providing any evidence to support his decision
      to decline the proposal.


  272. Following Aron's December 9th, 2021 Tweet, hundreds of AMC stockholders expressed
      outrage through tweets, challenging the credibility of Aron's statement regarding the Security
     Token Offering (STO). Stockholders commonly conveyed their skepticism and questioned the
     veracity of Aron's December 9th tweet in their responses.


                 A reconciled share count is NOT illegal and this is what a STO
                Offerin would produce and I believe you know this. So what
                about a reconciled share count? Can we get one instead?


                 illegal is not accurate. It s not you can’t do it, it’s you choose not
                to do it. See the difference there !


  97 CEO Adam Aron on X (formerly called twitter). December 9, 2021. X.com
    Link: https://t itter.com/CEOAdam/status/1468903430873919488
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                  I'm losing faith in you and after your tweet the stock started
                 droppin . Can't us shareholders vote on a NFT dividend since we
                 have to power to vote out directors and a CEO?


  273. Many AMC stockholders also challenged Aron's December 9th, 2021 Tweet, questioning
     the grounds on which he deemed a STO "illegal" and requesting him to cite relevant laws or
     recent court rulings. However, Aron has not addressed the illegality" of a STO at any point.


  274. Forty-nine minutes later, even Marc Cohodes got into the mix calling Aron out by
     tweeting,


            Adam, as I have described this, it is not illegal and when you say "litigation"
           risk that is just an excuse.. You are the CEO, it is your show and run it as you
           wish. 98



  275. Because Project Popcorn was memorialized on or about November 2021, but its genesis
     was on January 27th, 2021, it was already unde way during Aron's December 8th, 2021 Tweet.
     If Aron had complied with AMC stockholders' requests for a STO, it would have exposed the
     Project Popcorn scheme. This exposure would have impacted institutions, such as Citibank
     and its subsidiaries, Citigroup Global Markets Inc., with substantial short positions or,
      according to their own assessment, a “significant financial interest , given the share price s
     significance in the unfolding scenario.


  276. Starting in December of 2021, Aron personally started hosting movie screenings at AMC
     theatres. On Sunday, December 19th, 2021, at 7:00 pm, at AMC Lincoln Square in Manhattan,
     Aron hosted another early access screening. Attendees had the opportunity to see "The King's
      Man" three days before its official opening.


  277. On January 12th, 2022, at 4:57 pm EST, Aron tweeted out to AMC stockholders, giving
     them notice that,


             Back in August, I said that at age 67 I d sell some AMC shares toward year-
            end, all trading decisions out of my hands, under guidelines of a Chase 10-b-
            5-1 plan spread over 3 months. Those sales are now all finished. I STILL
            OWN OR PLAN TO VEST IN 2,302,760 AMC SHARES. I am in! 99


  98 Marc Cohodes on X (formerly called twitter). December 9th, 2021. X.com
    Link: https://twitter.com/AlderLaneEggs/status/1468915697086447618
  99 CEO Adam Aron on X (formerly called twitter). January 12th, 2022. X.com
    Link: https://twitter.com/CEOAdam/status/1481384780440682499
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  278. Aro s November 10th, 2021 tweet and now his January 12th, 2022 tweet calls into question
      why he would invoke Rule 10b5-1, unless he was privy to material nonpublic information. It
      raises doubt about the true motivation behind his stock sales, especially since he claimed it was
      solely for estate planning, in light of Project Popcorn being memorialized in November 2021.


  279. On January 13th, 2022, Fox Business News spread patently false information regarding
      AMC stock through their Twitter account. Fox Business posted a fake headline on Twitter
      where they falsely stated that AMC Theaters was going private. I00The misleading headline
      read:



              "Closing the Curtain: Popular movie theater chain oes private after selling
              final stocks."


      This misinfon ation caused a substantial 8.41% drop in AMC s stock price. The tweet has
      since been deleted.


  280. On February 1st, 2022, Aron tweeted pre-announced eye-opening quarter results to his
      audience by stating that:


                Today we “pre-announced AMC’s Q4 21 financial results. Meaningful
               milestones: Positive EBITDA, more than $145 million. Positive Operating
               Cash Generated, more than $215 million. Record year-end liquidity
               position, more than $1.8 billion. #StrongestAMCQuarterInTwo¥ears 101


  281. Aron's February 1st, 2022 Tweet appears to be part of a deliberate communication strategy
      aimed at fostering a positive sentiment around AMC's stock by Aron. The social media hype
      from Aron's followers contributed to a narrative of financial misrepresentation. Despite the
      reported catastrophic financial state of AMC, marked by the second-largest annual loss in the
      company's history, the touted EBITDA milestone was only beneficial for executives and their
      compensation packages, because their bonuses were based on that embezzlement construct.
      Aron, for instance, received his largest annual cash bonus of $6 million, raising questions about
      the alignment of executive rewards with the company's financial reality. The stark contrast
      between operating performance and executive compensation speaks for itself:


                                  Net losses AMC: $ 1,269,000,000


  100 Note: It was a misleading headline for this article: https://www.foxbusiness.co /markets/amc-ceo-
  done-selling-companv-stock
  101 CEO Adam Aron on X (formerly called twitter). Febmary 1st, 2022. X.com
    Link: https://twitter.com/CEOAdam/status/1488620170541154315
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                                 Aron s Cash Bonus: $ 6,000,000
                                 Aron s Stock award: $ 11,436,117
                                 Aron’s annual pay: $ 18,909,546


  282. On February 9th, 2022, Aron tweeted out some good news to AMC stockholders giving
     them notice that,


             Importantly we just hired a new AMC Vice President. Ellen Copaken has a
            ton of brand management and grocery experience, at PepsiCo, Frito-Lay &
            Hostess Brands. Her first assignment for AMC will be to quarterback the
            rollout in 2022 of our new broad based home popcorn initiatives. 102



  283. On Febmary 11th, 2022, Aron tweeted out to AMC stockholders giving them notice that,


             In January, the officially reported short interest in AMC rose by 13.8%, from
            94.8 million short shares on Dec 31 to 107.8 million shares on Jan 31.1 still
            have an interest in 2.3 million AMC shares. So, I hope those short sellers are
            wrong, wrong, wrong. Only time will tell. 103


  284. On February 16th, 2022, Aron tweeted out to AMC stockholders giving them notice that,


            “Well, well, well, would you look at this. Justice Department is Pursuing
            Wide-Ranging Investigation of Short-Sellers: Federal prosecutors are
            investigating whether short-sellers conspired to drive down stock prices....
               Wall Street Journal, February 16, 2022 104

  285. Following Aron’s February 16th, 2022 Tweet, hundreds of AMC stockholders tweeted back
     at Aron:


                You mean what we have all been talking about for the last year and a half?


              You certainly have enough info to know you should act decisively on your
              duty to protect your investors.




  102 CEO Adam Aron on X (formerly called twitter). February 9th, 2022. X.com
    Link: https://twitter.com/CEOAdam/status/1491445977131229191
  103 CEO Adam Aron on X (formerly called twitter). Febmary 11th, 2022. X.com
    Link: https://twitter.com/CEOAdam status/1492223394263228416
  104 CEO Adam Aron on X (formerly called twitter). February 16th, 2022. X.com
    Link: https://twitter.com/CEOAdam/status/1493951234155466754
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              It dont matter when 90-95% of our orders go through dark pools. Market
              Makers should be investigated and dark pools regulated or they shouldn t
              exist at all


              And still nothing done

              So how about them fake shares...


              @GaryGensler
              are you going to resign for not doing your job?



                             AMC Board Meeting February 17th, 2022


  286. At an AMC Board meeting held on February 17th, 2022, the AMC Board received a
      Preferred Equity Issuance Update from Derek Van Zandt and Cristian Gonzalez.


  287. Pursuant to the minutes of that meeting, Derek Van Zandt updated the Board as follows:
     Derek Van Zandt provided background on AMC s preferred equity offering. He explained,


             that Company was short on common shares but had SOM shares of preferred
            stock which might be used to raise cash. Preferred stock offerings
            traditionally pay a high dividend, are convertible, and are sold to large
            institutions. Company is restricted from paying cash dividends and plans
            to offer the preferred shares to its retail stockholder base throu h a
            rights offering which is common in Europe but less so in the US. One
            AMC preferred unit would convert into one share of common stock, subject
            to shareholder authorization. The preferred unit would be listed and trade on
            the NYSE and have an observable value. Our retail stockholders can purchase
            the preferred unit or sell the right which is itself a tradable security. The rights
            are dil tive so the shareholders are incented to buy the shares to avoid
            dilution 105 *


  288. Derek Van Zandt reviewed the mechanics of the offering indicating that there was some
     gearing/plumbing in the background including through the use of depositary shares. He
     reviewed the decision tree each shareholder would process. He explained that short sellers
     would need to deliver the right to the shareholder from whom they borrowed their shares which
     would create demand and put pressure on short sellers. Derek Van Zandt discussed various

  105 Link: https://www.docketalarm.com/cases/Delaware_State Court of Chancerv/2023-
  0215/IN_RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ E hibit 9 page 618
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     launch timeframes under consideration by management. Discussion ensued about the risks and
     opportunities associated with the preferred equity offering.106


  289. Derek Van Zandt also detailed the exact process by which preferred stock could be used to
      increase the number of shares of AMC Common Stock authorized for issuances.


  290. On February 25th, 2022, at 12:38 pm, John Merriwether, drafted an email with the subject
      titled: APE Ticker Symbol, and emailed Shannon Rochford at the NYSE stating,


                  Hey Shannon,

                 Hope you are well.
                 Can you remind me again for how long we have the APE ticker
                 symbol reserved?

                                                                  Thanks,

                                                                  John 107


  291. On February 25th, 2022, at 4:09 p.m., Shannon Rochford notified John Merriwether via
      email that AMC had reserved the ticker symbol APE until April 28th, 2022. Later that evening,
      John Merriwether emailed Shannon Rochford to inquire about the process for extending the
      APE reservation.


  292. On February 28th, 2022, Shannon Rochford emailed John Merriwether giving him notice
      that there are basically two ways the NYSE can extend the life of the ticker.


             • “To extend the reservation we [the NYSE] would need some kind of
                 confidential or public filing that has the ticker in it
             • If we let the ticker expire we can attempt to re-reserve it after 2 business
                 days but there is no way we can confirm that another exchange won t
                 secure it first. 108




  106 Link: https://www.docketalarm.com/cases/Delaware State_Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGAT1ON/918026
  42/ Exhibit 9 page 618
   107 Link: https://www.docketalarm.com/cases/Delaware_ State Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 24 page 845
   108 Link: https://www.docketalarm.com/cases/Delaware State Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 24 page 844
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  293. On March 1st, 2022, during AMC's Q4 2021 Earnings Call, Aron remarked:


               I keep on getting offers from our shareholders, for example, that they
              want to chip in and help us pay down our debt. I don t know exactly that
              that s in the cards, but I do admire their passion and dedication to AMC
              nonetheless. 109


  294. Once again, Aron’s response to AMC stockholders' offers to help pay down the debt is
      vague. The truth is, Aron couldn’t be transparent with his stockholders, as once again
      entertaining any offers would have obstructed AMC Board’s plan and would exposed the
      Project Popcorn scheme.




                             AMC s H croft Pump and Dump Scheme
                         and Collusion with Mudrick Capital L.P, in 2022

  295. On March 15th, 2022, Hycroft Mining Holding Corporation ( Hycroft ) announced a $56
      million equity private placement with precious metals investor Eric Sprott and AMC. Both
      Eric Sprott and AMC invested $27.9 million for 23.4 million shares in cash and an equal
      number of warrants in Hycroft, which was on the verge of bankruptcy prior to Eric Sprott and
     AMC’s cash infusion. As a result of the purchase, AMC became the owner of approximately
      22% of Hycroft.

  296. On March 15th, 2022, at 7:16 am EST, Aron tweeted out to AMC stockholders giving them
     notice that,


            AMC is playing on offense again with a bold diversification move. We just
          purchased 22% of Hycroft Mining (NASDAQ: HYMC) of northern Nevada. It has
          15 million ounces of gold resources! And 600 million ounces of silver resources!
          Our expertise to help them bolster their liquidity. 110


  297. Aron's March 15th, 2022 Tweet fails to mention that estimates of precious metals resources
     are based on surveys and not guaranteed. Additionally, Aron does not specify if Hycroft has
     the resources required for the extraction of all mentioned resources.


  109 AMC Entertainment Holdings, Inc.'s (AMC) CEO Adam Aron on Q4 2021 Results - Earnings Call
  Transcript March 1, 2022. Seeking Alpha. Posted on March 1, 2022. Link:
  https://seekingalpha.com/article/4491987-amc-entertainment-holdings-inc-s-amc-ceo-adam-aron-on-q4-
  2021-results-earnin s-call. Accessed on May 07, 2023.
  110 CEO Adam Aron on Twitter. Posted on March 15, 2022. Link:
  https://twitter.eom/CEOAdam/status/l 503691713474400257
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  298. Addressing the AMC Board s decision to invest in Hycroft, Aron said,


            [t]o state the obvious, one would not normally think that a movie theater
           company s core competency includes gold or silver mining. In recent years,
           however, AMC Entertainment has had enormous success and demonstrated
           expertise in guiding a company with otherwise valuable assets through a time of
           severe liquidity challenge, the raising of capital, and strengthening of balance
           sheets, as well as communicating with individual retail investors. 111


  299. Behind this investment in Hycroft, the truth encapsulates a series of hidden strategic moves
     undertaken with ulterior motives. Despite these developments, it's crucial to recognize that
     AMC was not in a financially robust state. While the company possessed a significant reserve
     of capital ($1,164,900,000 as of March 31st, 2022), they were unable to substantially reduce
     the company’s indebtedness, with corporate borrowings still at $5,501,800,000 as of March
     31st, 2022.


  300. Instead AMC chose to venture into an unexpected domain: the acquisition of an
     unprofitable gold mine. It's worth noting that Mudrick Capital had a significant stake in this
     venture.


  301. In 2018, Hycroft was reporting under Mudrick Capital Acquisition Corporation
     ( MUDS ), which was incorporated in Delaware on August 28th, 2017.


  302. MUDS was formed for the purpose of effecting a merger, capital stock exchange, asset
     acquisition, stock purchase, reorganization, or similar business combination with one or more
     businesses (the Business Combination ). According to SEC files, the first mentioning of
     Hycroft appeared in the 10-K annual report of MUDS for the fiscal year 2018. David Kirsch
     has been MUDS Vice President since September 2017 and is one of its directors. Mr. Kirsch
     was a Managing Director and Senior Analyst at Mudrick Capital, where he was responsible
     for analyzing distressed credit and equity opportunities across a diverse range of industries.


  303. On January 13th, 2020, MUDS entered into a purchase agreement with Hycroft. Form S-4,
     the “Registration Statement , containing infon ation about the business combination and the
     Hycroft business, was filed with the SEC on February 14th, 2020.




  111 Szalai, Georg. "AMC Theatres Buying $27.9M Stake in Gold an Silver Mining Company Hycroft."
  Holywood Reporter. March 15, 2022. Link: https://www.hollywoodreporter.com/business/business-
  news/amc-theatres-stake-gold-silver-mining-company-123511 1552/
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                                    1653


  304. Subject to the terms and conditions set forth in the Purchase Agreement, Mudrick intended
      to consummate a business combination pursuant to which Acquisition Sub will acquire from
      Seller the issued and outstanding equity interests of Seller s direct subsidiaries and will acquire
      substantially all of the assets and assume substantially all of the liabilities of such equity
      interests and the assets and liabilities together, the Hycroft business .


  305. As described in the Purchase Agreement, on October 4, 2019, Seller, as borrower, certain
      subsidiaries of Seller, as guarantors, Sprott Private Resource Lending II (Collector), LP, as
      lender, and Sprott Resource Lending Corp., as arranger, executed a multi-tranche Credit
      Agreement (the Sprott Credit Agreement ), pursuant to which Seller incurred an indebtedness
      with an original principal amount not in excess of $ 110,000,000 in connection with the
      consummation of the business combination. In addition, concurrently with the consummation
      of the business combination, Mudrick and a subsidiary of Hycroft entered into a Royalty
      Agreement with Sprott Private Resource Lending II (CO) Inc. (the Sprott Royalty
      Agreement and, together with the Sprott Credit Agreement, the “Sprott Agreements ),
      pursuant to which, among other things, such subsidiaiy will receive $30,000,000 and will incur
      a 1.5% net smelter royalty payment obligation relating to the Hycroft mine, the principal asset
      of Seller s subsidiaries being acquired in the business combination.


  306. The balance sheet - as Mr. Aron self-displayed AMC’s new “core competence to be
     “experts in balance sheets - is a quintessential document that lays bare the financial landscape
     of a company, unfurls the inherent risks for those considering an investment in Hycroft Mining
     Holding Corporation. Given the immense financial risk entailed in this investment, a
     reasonable person can only come to the conclusion that AMC’s fiduciaries have not conducted
     a thorough examination of Hycroft's balance sheet. At its core, the Hycroft Mine stands as a
     singular operational segment, encompassing the entirety of its operations, development
     endeavors, and exploratory undertakings. It is the crucible from which 100% of all revenues
     and production costs emanate. The mines only outcome are unrefined gold and silver bars,
     colloquially known as dore, alongside in-process inventories, characterized by their metal¬
     laden carbons and slags. In the annals of 2020, gold took the pole position, constituting a
     commanding 94% of the total revenue and noteworthy is the fact that all revenue streams
     stemmed from transactions with two customers. Macroaxis analysis estimated that the Current
     Hycroft Mining Probability Of Bankruptcy is over 84% as of January 28, 2024. 112Macroaxis
     has frequently listed HYMC as having a very high possibility of bankruptcy over the past few
     years due to HYMC’s financials.




  112 Hycroft Mining Holding Stock Probability Of Bankruptcy. MacroAxis. Date Accessed January 28,
  2024. Link: https://www.macroa is.com/invest/ratio/HYMC/Probability-Of-Bankruptcy
Case 4:23-cv-00732-ALM-KPJ Document 104-1 Filed 08/23/24 Page 75 of 86 PageID #:
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  307. Yet, the mining industry, a domain marked by cutthroat competition, pits Hycroft a ainst
     formidable adversaries armed with formidable mining capabilities and considerable financial
     and technical resources. The caprices of the market, their fluctuations tethered to a litany of
     factors beyond Hycrofts sphere of influence, including interest rates, inflation expectations,
     currency valuations, and governmental interventions, add an element of unpredictability. The
     imperative to replace depleted reserves, an ongoing imperative, necessitates astute exploration
     and strategic acquisitions, endeavors that may not always yield the desired outcomes.


  308. Moreover, Hycroft confronts the exigencies of a mining lease that exacts a 4% net profit
     royalty, a sum payable to the proprietor of specified mining claims. This entails an annual
     advance payment of $120,000 for every year of active mining on the leased claims, with
     additional levies for tonnage exceeding prescribed thresholds. As of December 31, 2020, the
     cumulative payments under this lease approached $7.6 million. As of December 31,2021 total
     tons mined from the leased claims exceeded 5.0 million tons, for which Hycroft remitted the
     required additional payment of $ 120,000 during the fourth quarter of2021. The total payments
     due under the mining lease are capped at $7.6 million, of which the Hycroft has paid or accrued
     $3.0 million and included $0.6 million in Other assets in the Consolidated Balance Sheets as
     of December 31, 2021.


  309. During the first quarter of 2021, Hycroft executed an operating lease agreement for a new
     large wheel loader with equal monthly payments of $0.1 million payable over four years, in
     addition to monthly maintenance payments based upon a fixed rate per service maintenance
     units. The total remaining minimum lease payments for this lease was approximately $7.8
     million (including maintenance payments of $3.4 million) as of September 30, 2021.


  310. Pursuant to the Sprott Royalty agreement in which Hycroft received cash consideration in
     the amount of $30.0 million, Hycroft granted a perpetual royalty equal to 1.5% of the Net
     Smelter Retu s from its Hycroft Mine, payable monthly. As of December 31,2021 and 2020,
     the estimated net present value of Hycroft s net smelter royalty was $154.0 million and $148.4
     million, respectively.


  311. Production costs tell facts on their own, with a marked increase from $11.0 million in 2019
     to $41.7 million in 2020 and $102.75 million in 2021. This surge, attributed to a spike in gold
     ounces sold and amplified costs per ounce produced, underscores the exigencies of meeting
     operational needs. The ramifications are further accentuated by write-downs, a reflection of
     Hycroft s high operational costs and modest production levels.
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  312. The contours of indebtedness present a narrative entwined with financial institutions that
     have historically, and presently, held sway over certain facets of the Hycroft's financial
     landscape. Five discerning financial entities have borne the weight of Hycroft's indebtedness.
     Notably, as of December 31, 2021, two a ong this coterie, namely, Mudrick Capital
     Management, L.P ( Mudrick ), and Whitebox Advisors, LLC ( Whitebox ), held more than
      10% of the common stock of the Hycroft.


  313. The chronicles of the years culminating, 2021, 2020 and 2019, unveil a tapestry woven
     with interest expenses, net of capitalized interest, the figures stood at $43.5, $31.3 million and
     $57.6 million, respectively. As of the close of 2021, 2020 and 2019, the Related Parties held
     sway over a combined total of $143.6 million, $497.2 million and $71.2 million in debt.


  314. In the annals of Hycroft s governance, the Compensation Committee and Board of
     Directors have ratified compensation arrangements for non-employee directors, a corpus of
     which accrues to Mudrick. The year that concluded on December 31, 2020, witnessed a
     disbursement of $0.2 million to Mudrick. Moreover, Mudrick vested in 5,047 restricted stock
     units, poised to transmute into an equivalent number of shares of Hycroft's common stock upon
     the cessation of the Mudrick representative's tenure on the Hycroft's Board of Directors.


  315. Hycroft's evolution of stock price and market capitalization tells the story of the pump and
     dump scheme behind it and is marked by astonishing fluctuations. Beginning on March 12,
     2018, with MUDS at $9.59, the journey culminated in Hycroft (Ticker “HYMC ) on February
     14, 2020, at $10,295. By March 3, 2022, it had plummeted to a mere $0,295.


  316. Astoundingly a seismic shift occurred on March 8lh, 2022 with the stock inexplicably
     surging to a closing price of $1 and an intraday zenith of $1.39. This price move was without
     any ostensible catalyst or underlying rationale. Yet the anomaly coincided with one of the
     largest debt holders Whitebox divesting warrants and stocks, amounting to $15,180.07 and
     $7,228,750.70 respectively, at an average share price of $0.9247. The inexplicably price surge
     of +371% raises questions of possible manipulation or undisclosed information.


  317. The ensuing days witnessed a seesaw of gains and selloffs. On March 9, 2022 the stock
     opened at $0.82 and closed at $0.63. The following day, the inexplicable surge persisted, with
     the stock oscillating between $0.70 and $1.50, culminating in a closing price of $ 1.25, a +114%
     increase. March 11 saw further intraday gains, reaching $2.65 (+77%) and closing at $1.88
     (+25%). However, the tide tu ed on March 14, following the at that day non-public
     AMC/Sprott transaction, causing a “mysterious -26% drop to $1.39 after a major buy into the
     stock.
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  318. Yet, this rollercoaster ride of Hycroft stock was far from over. On March 15,2022 the stock
     soared intraday to $2.72 (+96%), concluding at $1.52 (+9%). The third surge commenced on
     March 25, 2022, propelling the stock from $1.28 to $2.59 on March 29, 2022 marking a total
     surge of about 142% in just three trading days.


  319. During that volatile period, Aron strategically leveraged his substantial social media
     presence cultivated since early 2021. AMC influencers on Twitter actively participated in what
     is known as "astroturfing" - a deceptive tactic involving the creation of artificial grassroots
     support for a product, cause, or agenda, often by parties with vested interests in influencing
     public opinion. Adam Aron's Twitter profile boasts over 300,000 followers, while he follows
     over 3,300 individuals publicly. Unless Mr. Aron has an extraordinarily extensive network of
     family and friends, it is more likely that a significant portion of those he follows are discreet
     partners engaged in astroturfing activities. This aligns seamlessly with the "social media
     efforts" AMC undertook in early 2021.


  320. A thorough examination of the comments on Aron's March 15, 2022 tweet reveals
     numerous so-called "memesters" actively participating in astroturfing, all of whom are
     followed by Aron himself. The profiles highlighted below are just a small selection from that
     specific day. It's important to note that they collectively reach thousands, disseminating the
     narrative that the investment in Hycroft by AMC was not only sound but also devoid of risk -
     a stark contrast to the reality of millions of hard-ea ed shareholder dollars being potentially
     misappropriated by the board of directors, in an apparent collusion with Mudrick and Eric
     Sprott, with the aim of inflating stock prices for insiders to sell at artificially elevated levels.


  321. However, in the aftermath of this turmoil, insiders began selling off the stock. In 25
     transactions, Mudrick accumulated $6,464,459.38. It is imperative to recognize that these gains
     were accrued from cheap vested shares through the purchase of Hycroft of MUDS, occurring
     in tandem with interest payments and debt transactions between Hycroft Mining and Mudrick.
     This raises a pressing concern: did Mudrick play an active role in orchestrating the pump-and-
     dump scheme of Hycroft Stock? By effectively greasing the wheels for AMC's entry and
     exploiting Aron's extensive retail investor base, it seems they did. This revelation aligns with
     the pivotal CNBC interview, where Adam Aron tacitly admitted to such strategies. From
     December 2022 to February 2023, Mudrick executed a calculated divestment of a significant
     portion of their Hycroft holdings. The tally plummeted from an initial 23,681,359 shares to a
     mere 13,646,677, underscoring their strategic maneuvers to reap substantial gains at the
     expense of unwitting investors. Once again, the hero that gets zero. It is the retail investors,
     affectionately referred to as "memesters," who bear the brunt of financial losses, having
     entrusted their hard-ea ed money to CEO Mr. Aron.
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  322. Behind this investment, a series of hidden strategic moves with ulterior motives unfolded.
     Despite these developments, it's crucial to acknowledge that AMC was not in a financially
     robust state. While the company had a substantial reserve of capital, with "available liquidity
     and Cash and cash equivalents at December 31st, 2021, was approximately $1,801.6 million
     and $1,592.5 million, respectively," they struggled to significantly reduce the company's
     indebtedness.113


  323. On March 16th, 2022, Sakoya Blackwood ( Ms. Blackwood ) initiated a campaign of
     reaching out to Aron. Upon acquiring Aron s private cell phone number, she began sending
     text messages, pretending to be a woman named Mia. 114


  324. In the beginning, Aron believed that “Mia was an adult woman with whom he had a
     previous romantic relationship, specifically a ballet dancer. Within their first few messages
     and before “Mia had shared a picture of herself, Aron asked, “Is my memory right that you
     were into ballet? and Ms. Blackwood responded, “Yes!


  325. Based on Aron s understanding of who Mia was, which Ms. Blackwood perpetuated,
     Aron exchanged messages with “Mia about meeting in person in New York.


  326. On March 17th, 2022, Ms. Blackwood asked Aron to send her sexually explicit photographs
      and Aron complied.


  327. On March 19th, 2022, Aron asked “Mia to send a picture of herself. In response, Ms.
      Blackwood sent Aron a picture of a Russian model that she procured from the model’s
      Instagram page. Ms. Blackwood continued to send Aron additional pictures of the model,
      passing them off as pictures of Mia .


  328. In the following days, Ms. Blackwood persistently fabricated information about "Mia's"
      whereabouts, her activities (claiming, for example, to be in St. Bart’s for a modeling job), and
      her availability for an in-person meeting. At the same time, Mia and Aron continued to
      exchange sexually explicit messages.


  329. By M rch 2022, AMC and Citigroup Global Markets Inc. looped in D.F. King, as well as
      Computershare, the Company’s transfer agent as part of the plan for a preferred share offering.


  113 AMC Q4 2021 Earning Results. Link:
  https ://d 1 io3yog0oux5.cloudfront.net/_06817300814f4e4cd 15dd61135511 cl 7/amctheatres/db/2294/2150
  4/ea nings_release/FINAL_-_4Q_202 l_Eamings_Release_20220301 .pdf
  114 Sakoya Blackwood’s Sentencing Memorandum
  https://cdn.sanity.io/files/ifn016bs/production/2845afd8bf6f32f3f6834ef3el95c26bf26ce7ef.pdf
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  330. On March 25th, 2022, at 7:37 pm EST, Aron tweeted out to AMC stockholders giving them
     notice that,


          I was highly confident that AMC s skills could quickly right the ship at Hycroft
         (HYMC). We just did! Eric Sprott and AMC invested $56 million. Now we raised
         a breathtaking $139 million more cash equity! $195 million in total! In only two
         weeks! Calm seas, smooth sailing ahead. 115


  331. On March 28th, 2022, Aron was on Squawk on the Street, a show on CNBC with anchors
     David Faber and Jim Cramer. Two minutes and thirty-one seconds into the interview, David
     Faber asked Aron the following questions:


           David Faber: Well, Adam it s David, you know. Again then back to this idea
           of core competence and what you just said you re experts in raising money and
           it would seem to me - correct me if I’m wrong - that you see real opportunity
          here as a competence in terms of finding another business perhaps that is in a
           cash crunch position - and applying what you now have is this following of your
           shareholders to basically turn their fortunes around whatever they may be. In
          this case it was Hycroft. The next one might be another one - I mean - is that
          the new core competence of AMC to sort of use these the memesters that you
          have to help to tumaround the fortunes of a company because they’re willing to
          put money behind it?

          Aron: Well.. .uhm. Look, I think I have to say the answer of your question is
          “YES ....and we proved it. Because in addition to the money that Eric Sprott
          put in - who is a gold and silver mining expert, so we have some real credibility
           in the investment in Hycroft. Because if it wasn’t an impressive mining potential,
           Sprott wouldn’t be there with us with his own money. And the money we put
           in...But...like we just raised another $139 million in nine trading days [March
           15 -25, 2022]. $195 million going into a company that three weeks ago had a
          market cap - uhh I guess it’s two weeks ago - had a market cap of $19 million.
          This is an enormous amount of capital.


          David Faber: Yeah and it was facing potentially its own cash crunch. But I
          mean they’re going to need as much as a billion to make this true transition. Isn't
          that correct? To sort of get that new mill to process what remains in terms of the




  115 CEO Adam Aron on Twitter. Posted on March 15, 2022. Link:
  https://twitter.com/CEOAdam/status/1507501897963302915
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            mine when it comes to sort of the oxide ore ru ning out and then you know being
            able to process the sulfide ore? Is that correct?


           Aron: Well, you know we are going to leave the running of the gold and silver
           mining company to the experts. We are experts in balance sheets. Eric Sprott is
           an expert in gold and silver. So is Hycroft mining. But what you described is
           basically true. Although, there are exploration sites not yet in full production.
           That are valued at levels that are - you know - infinitely greater than the $19
           million market cap. This company was basically priced at bankruptcy levels
           because it was facing corporate debt a few weeks after we invested had we not
           invested. And so, yes, if we want to go into full production we re going to have
           to put in a- milling operation. If we want to go into greater exploration, it only
           takes tens of millions of dollars to explore more than the 2% of the 71,000 acres
           that currently sit at the Hycroft mine in northern Nevada. 116


  332. During David Faber s interview with Aron, a shocking revelation has surfaced, shedding
      light on the underlying motives of the AMC leadership. The question posed by David Faber,
      encapsulates the crux of the matter. It is suggested, and not unreasonably so, that AMC's
      newfound expertise lies not in the traditional realms of cinema exhibition, but rather in the art
      of financial maneuvering to exploit Aron’s new gained stockholder base. Aron's emphatic
      "YES" in response to David Faber’s particular question indicates Aron’s belief that AMC has
      indeed become adept at capital acquisition. This acknowledgment suggests a significant shift
      away from traditional business practices.


  333. Furthermore, the interview insinuates a seemingly new modus operand whereby AMC
      identifies entities in a state of financial distress, as illustrated by the case of Hycroft. This
      strategy of utilizing what has been derogatorily termed "memesters" to revive distressed
      companies raises significant ethical and legal concerns. It echoes with a hint of narcissism -
      the bold decision by "the Silverback" to invest valuable and irretrievable stockholder resources
      into a gold and silver mine.


  334. Aron attempts to emphasize the credibility of AMC's investment in Hycroft by referencing
      investor Eric Sprott. He seeks to establish a strong argument: a prominent figure in gold and
     silver mining like Sprott would unlikely invest unless the potential for significant retu s in
     Hycroft's mining prospects was clear. However, this logic was grounded on quicksand as Eric
     Sprott sold 5 million shares a few months later for a substantial profit of $6,375,000.00, with
     an average share price of $1,275.


  116 Source: CNBC Interview David Faber and Jim Cramer with Adam Aron. Interview held on March
  28"', 2021. Link: https://www.youtube.com/watch?v=6RC5a4t47_c
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  335. The sheer magnitude of capital infusion into Hycroft paints a vivid portrait of the
      memesters financial prowess. Over a span of just nine trading days, from March 15th to 25th,
     2022, an astonishing $195 million ($135 million excluding investments from AMC and Eric
     Sprott) was poured into a mining company that, only weeks earlier, had a market capitalization
     of a mere $ 19 million. This staggering transformation warrants a narrative of capital allocation
     that carries the hallmarks of astute financial orchestration.


  336. As the interview progresses, the focus shifts towards Hycroft's urgent financial challenges.
     The scale of the proposed transition, requiring over $ 1 billion, highlights the monumental task
     ahead. Moving from processing oxide ore to the more complex sulfide ore processing is a
     significant endeavor. Aron acknowledges that AMC's strength lies not in the detailed technical
     aspects of mining operations but in financial management. This acknowledgment, however,
     opens a Pandora's box of questions


  337. The exchange between David Faber and Aron transcends mere conversation. The
     implications of this investment during AMC's peak financial distress, both ethically and
     legally, mark a departure into uncharted and potentially perilous territory. Aron asserts, "We
     are experts in balance sheets." Yet, in juxtaposition, he delegates the operational intricacies of
     gold and silver mining to those experts in the field. Here, lies the paradox. Under the purview
     of AMC's conventional operations, he should have said, that we are experts in the movie and
     theater business and yet he relies in specific on the reference to balance sheets. While AMCs
     balance sheet appear dismal, “real experts in balance sheets would have acknowledge the
     stark reality: Hycroft emerged from the shadows of bankruptcy, bearing the weight of profound
     unprofitability. Aron's revelations continue, shedding light on the valuation of exploration
     sites yet to achieve full production. He contends that these holdings possess a valuation far
     exceeding the modest $19 million market cap. This assertion, alongside the disclosure of
     Hycroft teetering on the brink of bankruptcy, underscores the implications of an investment
     made in the eleventh hour, without which the corporation would have faced an insurmountable
     wave of debt.


  338. On April 4th, 2022, “Mia” messaged Aron, “Send me a naughty picture. Aron responded
     by sending “Mia several explicit photographs of himself and another woman. After Aron sent
     some photographs, Mia pressed him, “Send me more, and Aron complied, sending more
     sexually explicit photographs.


  339. On April 5th, 2022 at 12:22 pm, John Merriwether reached out once again to Shannon
     Rochford via email and inquired about the following:


           Shannon,
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          We have been working on a project that would utilize the APE ticker symbol.
          Our attorney s (Michael Stein from Weil, Gotshal & Manges LLP copied) have
          a call tomorrow with the NYSE to discuss the project. Based on those
          discussions and the impending project, we would like to continue to reserve the
          APE ticker symbol. In addition, we would also like to inquire if APER is
          available as a ticker symbol. This symbol would be used for a very short 30 day
          trading window ahead of the usage of APE. My basic search did not indicate it
          was in use. Obviously, all this is confidential. Thanks for your assistance.
          Be safe and well

                                                                      John 117


  340. As of today, AMC stockholders still remain uninformed about the rationale behind the
     availability inquiry with respect to the ticker symbol APER and the necessity for a short 30-
     day trading window preceding the utilization of APE.


  341. Later that afte oon, Shannon Rochford replied to John Merriwether s email stating,


            John,
          Absolutely confidential! I know when we last talked I had mentioned that the
          APE symbol would be expiring later this month. Is the plan to utilize it before
          the expiry or as discussed, use it in a filing ahead of the project? I m not sure
          who from the NYSE you are speaking to tomorrow but I would bring up the fact
          that the symbol is only reserved until 4/28. I have a few questions. What is the
          timing of the project? Is the R a suffix (i.e. variation off the root APE) or will it
          be a totally different symbol/security?

                                                                      Best,
                                                                       Shannon 118


  342. According to the above email exchange, on April 6th, 2022, Michael Stein was scheduled
     to have a call with the NYSE regarding the project ; to issue a preferred share and reserving
     the APE symbol.



  117 Link: https://www.docketalarm.com/cases/Delaware State_Court_of Chancerv/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC._STOCKHQLDER LITIGATIQN/918026
  42/ Exhibit 24 page 844
  118 Link: https://www.docketalarm.com cases/Delaware_State_Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 24 page 843
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                                    1662



  343. On April 8th. 2022, Mia pressed Aron once again, Send me more,” and Aron complied,
      sending some more sexually e plicit photographs.


  344. On April 11th, 2022, Ms. Blackwood began sending text messages to Aron, using another
      Voice Over Internet Protocol (VoIP) number, purporting to be someone named “Brian,” an ex¬
      boyfriend of Mia . Brian told Aron, in substance, that he had “Mia s phone and saw some
       incendiary shit on it. Brian said that he was probably selling the information, that CEO
      scandal is apparently lucrative, and that he was going to see what the national enquirer is
      offering. 119


  345. On April 14th, 2022, at 9:17 p.m., “Brian messaged Aron, “She [i.e., “Mia ] wasn t even
      18 yet so you know what that means. Then, at 11:22 p.m., “Brian added: What should
      concern u is 5yrs ago she wasn’t 18 yet. Less than 40 minutes later, on April 15th, 2022, at
      12:01 a.m., Aron told Brian : “I confused her [“Mia ] with someone else. She and I have
      never met before. 120


  346. On April 16th, 2022, “Brian gave Aron notice that: “Offers are coming in like crazy ppi
      love a scandal. “Brian then threatened Aron that he would “text/email all the members of your
      company board the vids/images. Brian messaged Aron the names and non-public cellphone
      numbers of six members of the AMC Board of directors, as well as the cellphone number of
      one of Aron’s sons. 121


  347. On April 17th, 2022, Aron sought the assistance of an attorney, hoping that would cause
      Ms. Blackwood to stand down. Aron sent Brian a copy of a letter from his attorney, wa ing
      “Brian of the criminal nature of his actions and demanding that he stop. 122


  348. Unfortunately, Ms. Blackwood was not deterred. Aron also told “Mia about the letter.
       Mia told “Victim -1 that the letter to “Brian would do more harm than good. “Mia said
     “he could do more damage than you could while getting paid for doing it. 123


  349. On April 19th, 2022, Ms. Blackwood began sending text messages to Aron, using another
     VoIP number, purporting to be someone who worked at a media agency (the Media Contact ).




  119 Sakoya Blackwood’s Sentencing Memorandum
  https://cdn.sanity.io/files/ifn0I6bs/production/2845afd8bf6f32f3f6834ef3el95c26bt26ce7ef.pdf
  120 Sakoya Blackwood’s Sentencing Memorandum
  121 Sakoya Blackwood s Sentencing Memorandum
  122 Sakoya Blackwood on X (formerly called twitter). May 1st, 2022. X.com
    Link: https://twitter.com/TwoTruthl/status/1520628983947218944
  123 Sakoya Blackwood’s Sentencing Memorandum
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                                    1663



  350. The Media Contact told Aron that [w]e received a tip regarding you that promised to be
      damning. The Media Contact added: This is extremely unorthodox, I am reaching out
      because I am a shareholder. And I m worried the information will cause adverse reaction.” 124


  351. On April 20th, 2022, the Media Contact told Aron that the Media Contact brought the
      information to their boss and that they made a deal with the seller of the information for
      $250,000.

  352. On April 22nd, 2022, “Mia” told Aron: “he s [Brian’s] going for the money my guess is
      sometime next week maybe speak with your family so they’re not blindsided. That same day,
       Brian told Aron you can’t tell me what to do and the smart move was u should’ve been
      trying to make a deal. Brian also claimed that there was a bidding war for the information
      that reached $315,000 at one point. 125


  353. On April 22nd, 2022, John Merriwether emailed Shannon Rochford while cc’ing Michael
      Stein, stating,


           “Hey Shannon,


           Just catching up on the APE ticker symbol. The atto eys have had extensive
           discussion with the exchange about the project, it would not be launched
           before the ticker symbol reservation expiration date of 4/28 but I would
           expect that it would be used in 2Q or 3Q. We have a prospectus documents
           drafted that the attorneys have been reviewing with the exchange. What do I
           need to do to ensure we do not lose the ticker on 4/28? Is there a reservation
           fee or something we can do?


                                                                      Thanks,
                                                                      John 126


  354. On April 22nd, 2022, “the Apes Movement Community Token, aiming to be an important
     player in the crypto space, announced that it is starting its adventure with a unique fair launch
     event held on April 30, 2022127; the invitation is for all the interested Apes/Investors to this
     extraordinary event. The Apes Movement Community Token fair launch aims to craft a wider


  124 Sakoya Blackwood’s Sentencing Memorandum
  125 Sakoya Blackwood’s Sentencing Memorandum
  126 Link: https://www.docketalarm.com/cases/Delaware_State Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGSJNC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 24 Page 843
  127 https://www.globenewswire.com/news-release/2022/04/22/2427052/0/en/The-Apes-Movement-
  Community-Token-announces-its-Official-Launch-on-Pink-Sale-Finance-Platform.html
Case 4:23-cv-00732-ALM-KPJ Document 104-1 Filed 08/23/24 Page 85 of 86 PageID #:
                                    1664



      distribution and an effective price discovery. The project will not set a dollar price for the
      tokens; supply and demand in the fair launch event will. No Pre-Sale, Initial Coin Offering,
      Seed Round, or Whitelist before fair launch is completed; everyone has the same opportunity
      to acquire The AMC Token (TAMC) from day one. The AMC Token acronym for The Apes
      Movement Community Token should not be associated with AMC Entertainment Holdings,
      Inc., the publicly-traded company, as they are not linked together. The Apes Movement
      Community Token is not part of the company, and in any way, shape, or form is alluding to
      that. 128


  355. On or about April 24th, 2022, Aron, through his atto ey, had contacted the FBI and, at law
      enforcement s recommendation, Aron did not make a deal with Brian as Ms. Blackwood had
      insisted.


  356. On April 25th, 2022, Shannon Rochford emailed John Merriwether and cc d Michele G Lee
      while leaving Michael Stein in the thread, stating


            John,
           My colleagues have been providing me with updates on the discussion that
           you ve had about the project. I’ve also informed them of the symbol situation.
           Unfortunately, there is no reservation fee or anything that we can do to continue
           the reservation of the ticker after the expiry on 4/28. As I mentioned, there are
           only two ways to extend the life of the ticker:


             1. If we want to extend the reservation without letting it expire, we would
                  need some kind of confidential or public filing that has the ticker in it.
            2. If we let the ticker expire on 4/28 we can attempt to re-reserve it after two
                  business days but there is no way we can confirm that another exchange
                  won’t secure it first.


           I will ensure that my colleague that manages the symbol reservation process
           keeps close eye on the ticker for the ability to re-reserve it.


                                                                             Best
                                                                             Shannon 129




  128 https://www.globenewswire.com/news-release/2022/04/22/2427052/0/en/The-Apes-Movement-
  Cominunity-Token-announces-its-Official-Launch-on-Pink-Sale-Finance-Platform.html
  129 Link: https://www.docketalarm.com/cases/Delaware State Court_of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC, STOCKHOLDER LITIGATIQN/918026
  42/ Exhibit 24 pages 842-843
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                                    1665



  357. Later that morning, John Merriwether emailed Shannon Rochford with an attached pdf
     draft prospectus document named:


               AMC-Rights Offering Prospectus Supplement_WEIL_98448255_31.pdf


  358. Later that night, Sean Goodman emailed John Merriwether giving him notice stating in
     part, Let s stay close on this. If necessary we can have a call with her. We can t afford to
     let the s mbol expire. 130


  359. Between April 27th and April 29th, 2022, Brian told Aron that “Mia raised $300,000 to
     keep the information about Aron quiet. According to Brian, “Mia raised the money by
     selling her eggs. Brian did not feel comfortable taking “Mia s money so he gave Aron a
     choice: reimburse “Mia for the $300,000, or “Brian will give “Mia her money back and go
     forward with his original plan of releasing the information.


  360. On April 29th, 2022, Ms. Blackwood began using a Twitter account, ©TwoTruthl, to tweet
     at Aron. She tweeted about a scandal brewing around Aron and rhetorically asked what would
     happen to the share price and shareholders of AMC when the compromising information is
     released. Later that afternoon, she tweeted,


                                        ©CEOAdam
                                       have u spoken to M today? 131


  361. On April 30th, 2022, at 9:08 pm EST, Aron finally tweeted out the following message to
     address AMC stockholders concerns giving them notice,


             “The AMC Token (after our vigorous protest: “The Apes Movement
             Community Token ) is a total sham. AMC Entertainment has nothing to do
             with this blatant violation of our registered trademark, and attempted theft of
             our name/reputation. We are fighting them hard. Don’t be fooled! 132


  362. Following Aron’s April 30th, 2022 Tweet, hundreds of AMC stockholders tweeted back at
     Aron expressing their frustration:




  130 Link: https://www.docketalarm.com/cases/Delaware State Court of_Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 24 page 842
  131 Sakoya Blackwood on X (formerly called twitter). April 29th, 2022. X.com
    Link: https://twitter.com/TwoTruthl/status/1520110285243265025
  132 CEO Adam Aron on X (formerly called twitter). April 30th, 2022. X.com
    Link: https://twitter.com/CEOAdam/status/1520570903482015745
